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                      Exhibit A
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                                   EXHIBIT A
                                1,438 Registrations
      US Copyright                             Video Title
       Registration
         Number
    PAu3810689           Brazzers Exxtra - Yoga Freaks: Episode Four
    PAu003886276         Brazzers Exxtra - Swipe the Slate Clean: Part One
    PAu003886238         Brazzers Exxtra - The Daily Special
    PAu003884047         Mofos B Sides - Anniversary Sex on the Couch
    PAu003848320         Ebony Sex Tapes - Ebony GF's Pre-Party Pounding
    PAu003848315         Stranded Teens - Ebony Raver Gets Freaky in Field
    PAu003848305         Pervs On Patrol - Big Tit Babe Twerks on Trampoline
    PAU003835300         Public Pickups - Smoking Blonde Flashes for Fun
    PAU003835299         ZZ Series - Power Bangers: A XXX Parody Part 4
    PAU003829948         Dirty Masseur - I'd Rather Be In Cali
    PAU003829917         Moms in control - Sex-Starved Soccer Moms
    PAU003829915         Real Wife Stories - My Boss Wants My Wife
    PAU003829907         Latina Sex Tapes - Sexy Latina Showered in Cum
    PAU003829879         Public Pickups - Babe Fucks in Bathroom for Tattoo
    PAu003829760         Brazzers Exxtra - Metal Rear Solid: The Phantom Peen
    PAu003829757         Brazzers Exxtra - Slut Hotel: Part 1
    PAU003829747         Brazzers Exxtra - Valentina's Ass Is A Work Of Art
    PAU003829729         Public Pickups - Stairwell Sex With Haven Rae
    PAu003829704         Brazzers Exxtra - Don't Touch Her 3
    PAU003829703         Latina Sex Tapes - Betrayed Latina Gets Cop Cock
    PAU003829697         Share My BF - Exhibitionist Couple Share a Roomie
    PAU003829692         Dirty Masseur - Rubbing Her The Right Way
    PAU003829660         Dirty Masseur - The Wrong Massage Feels So Right
    PAU003829650         Stranded Teens - Cumming of Age â€“ Part 2
    PAU003829648         Brazzers Exxtra - Girth In Her Shell: A XXX Parody
    PAU003829640         Public Pickups - Forest Sex with Hot Hungarian
    PAU003829639         Brazzers Exxtra - If The Dick Fits: Part 2
    PAU003829531         Dirty Masseur - What the Client Wants, the Client Gets 2
    PAU003829435         Brazzers Exxtra - The Ass On Adriana
    PAU003829422         Public Pickups - Young Wife Fucks for Charity
    PAU003829386         Dirty Masseur - Rubbing A Cock In Her Poon
    PAU003829375         Doctor Adventures - Cunnilingus: A ZZ Medical Study
    PAU003829220         Stranded Teens - Red Toe Cumshot for Foot Lover
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    PAU003829183         Lets Try Anal - Anal Reward for Winning Teen
    PAU003829131         Baby Got Boobs - My Buddy's Sister's Boobs
    PAU003829130         Public Pickups - Hot Blonde's First Public Sex
                         Brazzers Exxtra - Good Things Cum in Small and Big
    PAU003829118         Packages
    PAU003829117         Dirty Masseur - Applying Pressure To The Tender Pussy
    PAU003829086         Brazzers Exxtra - Blowing On Some Other Guy's Dice
                         Public Pickups - Leggy Brit With Big Tits Loves Big
    PAU003828966         Cock
                         Brazzers Exxtra - Danny D: Life On The Road (XXX
    PAu003828962         Parody)
    PAu003826958         Share My BF - Skyla and Kimber Share BF's Dick
    PAu003826667         Brazzers Exxtra - When The Food Truck Is A Rockin'...
    PAu003826662         Public Pickups - Beauty With Big Bush Has Public Sex
    PAu003826646         Brazzers Exxtra - Superbang My Ass!
    PAU003826584         Latina Sex Tapes - Big Tit Latina Blows Client
    PAu003826509         Lets Try Anal - Anal Stretching After Yoga
    PAu003826491         Doctor Adventures - Nurse A Cock In Her
    PAu003826488         Doctor Adventures - Doctor, I Cheated On My Girlfriend
    PAu003826481         Public Pickups - Sex-Obsessed Amber Fucked Outside
    PAu003825993         Big Wet Butts - Big Wet Bubble Butt Bath
    PAu003825906         Doctor Adventures - She's Crazy For Cock! Part 2
    PAu003825882         Stranded Teens - Hayden Sucks Dick For Ride Home
    PAu003825875         Brazzers Exxtra - Yoga Freaks: Episode Seven
    PAu003825766         ZZ Series - A Brazzers Christmas Special: Part 3
    PAu003825757         Share My BF - Flashing Schoolgirls Share Big Cock
    PAu003825738         Brazzers Exxtra - Hardcore High Notes
    PAu003825666         ZZ Series - A Brazzers Christmas Special: Part 4
    PAu003825660         Public Pickups - Curvy Latina Gets Paid to Fuck
    PAu003825659         Stranded Teens - Haley the Horny Christmas Hitchhiker
    PAu003825655         Brazzers Exxtra - Personal Trainers: Session 3
    PAu003825653         Brazzers Exxtra - Power Rack: A XXX Parody
    PAu003825643         Mofos B Sides - Big Dick For Blonde Latina
                         Ebony Sex Tapes - Ebony Babe's Tits Rubbed With
    PAu003825642         Cream
    PAu003825641         Public Pickups - Cute Student 69's For Travel Money
    PAu003825637         Doctor Adventures - She's Crazy For Cock! Part 1
    PAu003825630         Brazzers Exxtra - You Can Cream On Me
    PAu003825628         Brazzers Exxtra - New Years Sleaze
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    PAu003825606         Lets Try Anal - First Time Anal For Couple
    PAu003825561         Brazzers Exxtra - Personal Trainers: Session 1
    PAu003825557         Doctor Adventures - My Husband Is Right Outside...
    PAu003825555         Brazzers Exxtra - Life Assistant Doll
    PAu003825540         Brazzers Exxtra - Personal Trainers: Session 2
    PAU003825512         Stranded Teens - Busty Brunette Sucks Cock for Ride
    PAu003825509         ZZ Series - A Brazzers Christmas Special: Part 1
    PAu003825454         Public Pickups - Naughty Tourist Sucks Dick for Cash
    PAu003825451         Dirty Masseur - Another Marriage Down The Drain
    PAu003825442         ZZ Series - A Brazzers Christmas Special: Part 2
    PAu003825365         Lets Try Anal - All Natural Latina Offers Anal
    PAu003825341         Dirty Masseur - Can You Feel The Tightness?
    PAu003825320         Public Pickups - Brunette Teen Cheats for Cash
    PAu003825302         Brazzers Exxtra - Chasing That Big D
    PAu003825300         Public Pickups - Slim Hungarian Takes Fat Dick
                         Stranded Teens - Kristen's Long Legs and Multiple
    PAu003825297         Orgasms
    PAu003825281         Big Wet Butts - The Big Butt Ballet
    PAu003825261         Hot And Mean - Tight And Tanned: Part 1
    PAu003825258         Public Pickups - Shy Student Fucks for Cruise Money
    PAu003825245         Brazzers Exxtra - Full Service Station: A XXX Parody
    PAu003817684         Stranded Teens - Natural Teen Fucks for a Ride
    PAu003817596         Moms in control - Teens In The Backseat
    PAu003817541         Share My BF - Busted Lesbians Share Boyfriend's Dick
    PAu003817518         Doctor Adventures - A Dose Of Cock For Co-Ed Blues
    PAu003817498         Lets Try Anal - Outdoor Anal for All-Natural Roxy
    PAu003817320         Stranded Teens - All Natural Texan Fucked in Car
    PAu003817288         Share My BF - Two Bikini Babes Share a Boyfriend
    PAu003817287         Brazzers Exxtra - Trick And Treat
    PAu003817275         Public Pickups - Creampie for Hottie in Glasses
    PAu003817241         Hot And Mean - ZZ Presents: Hot And Meania
    PAu003817227         ZZ Series - ZZ Erection 2016: Part 4
    PAu003817215         Brazzers Exxtra - The Easiest Test
                         Brazzers Exxtra - She Wants My Dragon Balls! (XXX
    PAu003816957         Parody)
    PAu003816800         Brazzers Exxtra - Open For Business
    PAu003816547         Lets Try Anal - Horny Cutie's First Anal Experience
    PAu003816525         Public Pickups - Innocent Brunette Gags on Cock
    PAu003816509         Brazzers Exxtra - Cuffed And Fucked
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    PAu003816360         Latina Sex Tapes - Petite Latina with Big Ass
    PAu003816071         Brazzers Exxtra - The Joys of DJing
    PAu003816053         Brazzers Exxtra - ZZ Lemonade: Charlotte Cross
    PAu003816052         Doctor Adventures - The Butt Doctor
    PAu003816050         Brazzers Exxtra - Mantequilla Bay Bay!
    PAu003816047         Brazzers Exxtra - Maid To Nurture
    PAu003816031         Brazzers Exxtra - My Stepsister The Gamer
    PAu003816028         Stranded Teens - Yoga Obsessed Blonde Gets Banged
    PAu003816015         Public Pickups - Euro Hottie's Sexy Amateur Pussy
    PAu003816011         Big Tits at School - Big Tits In History: Part 3
    PAu003815996         Doctor Adventures - Dr. Taylor Takes Her Medicine
    PAu003815995         Public Pickups - Busty Teen's Asshole Stretched Out
    PAu003815971         Brazzers Exxtra - ZZ Lemonade: Kristina Rose
    PAu003815956         Doctor Adventures - When A Doctor Needs Help
    PAu003815954         Brazzers Exxtra - Trapped And Fucked
    PAu003815912         Brazzers Exxtra - Our Babysitter's Butt: Part 2
    PAu003815840         Brazzers Exxtra - S Is For Squirt
    PAu003815839         Big Tits at School - Big Tits In History: Part 1
    PAu003815836         Brazzers Exxtra - Licking Locked Up
    PAu003815826         Latina Sex Tapes - Cute Latina Loves her BF's Dick
    PAu003815805         Brazzers Exxtra - Nikki's Blind Taste Test
    PAu003815793         Lets Try Anal - Tattooed Busty Babe Tries Anal
    PAu003815792         Pervs On Patrol - Trimmed Blonde on her Back
    PAu003815774         Doctor Adventures - Pushing For A New Prescription
    PAu003815771         Public Pickups - Natural Gal Gets Paid for Blowjob
    PAu003815768         Latina Sex Tapes - Giggly Latina in Piledriver
                         Day With A Pornstar - Day With A Pornstar: Abigail and
    PAu003815764         Romi
    PAu003815758         Dirty Masseur - Rub and Fuck Thy Neighbor
    PAu003815754         Brazzers Exxtra - Cock for Cox
    PAu003815706         Big Tits at School - Big Tits In History: Part 2
    PAu003815694         Lets Try Anal - Thick Booty Babe's First Anal Fuck
    PAu003815693         Public Pickups - Raven Haired Euro Chick Gets Banged
    PAu003815654         Stranded Teens - Stranded Spanish Cutie Sucks Dick
    PAu003815647         Latina Sex Tapes - Leggy Latina Plowed Doggystyle
    PAu003815542         Brazzers Exxtra - Let's Get Facials 2
    PAu003815451         Pornstar Vote - Dillion Harper Stuffs her Mouth
                         Brazzers Exxtra - Harley In The Nuthouse (XXX
    PAu003815391         Parody)
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    PAu003815384         Mofos B Sides - Camp Counselor's Got Some Big Tits
    PAu003815342         Brazzers Exxtra - Office 4-Play: Intern Edition
    PAu003815313         Day With A Pornstar - Day With A Pornstar: Monique
    PAu003815309         Latina Sex Tapes - Latina Hiker Makes Outdoor Sextape
    PAu003815308         Stranded Teens - Petite Teen's Perfect Cupcake Tits
    PAu003815292         Latina Sex Tapes - Sunbathing Latina Gets Pranked
    PAu003815288         Doctor Adventures - She Wants It Both Ways
                         Brazzers Exxtra - Honey, Would You Mind Milking My
    PAu003815257         Nuts 2
    PAu003815251         Public Pickups - Euro Babe Fucked in the Woods
    PAu003815249         Stranded Teens - All-Natural Teen's Juicy Pink Peach
    PAu003815230         Latina Sex Tapes - Latina Trades Hoop for Dick
    PAu003815208         Brazzers Exxtra - Wham, Bam, Thank You Paper Jam!
    PAu003815203         ZZ Series - Ghostbusters XXX Parody: Part 4
    PAu003815180         Lets Try Anal - Horny Babe Plays with Anal Beads
    PAu003815178         Stranded Teens - Busty Brit Blows her Rescuer
    PAu003815148         Lets Try Anal - Blonde MILF's Anal Experiment
                         Brazzers Exxtra - Sex Fighter: Vega Gets Vagina (XXX
    PAu003815140         Parody)
    PAu003815137         Brazzers Exxtra - Sybian Gamer Girl
    PAu003815118         Stranded Teens - Mixed Race Hottie's Thick Booty
    PAu003815102         Public Pickups - Busty Brit Makes Amateur Sex Tape
    PAu003815100         Brazzers Exxtra - Wonder Woman: A XXX Parody
    PAu003814626         Stranded Teens - Busty Chick's Back Seat Blowjob
    PAu003814623         Pornstar Vote - Riley Reid Doesn't Wear Panties
    PAu003814576         ZZ Series - Ghostbusters XXX Parody: Part 2
                         Brazzers Exxtra - Star Trexxx: The Captain's Seed (XXX
    PAu003814574         Parody)
    PAu003814565         ZZ Series - ZZ Erection 2016: Part 3
    PAu003814523         Lets Try Anal - Anal Virgin Fucked in the Ass
    PAu003814504         Dirty Masseur - What the Client Wants, the Client Gets
    PAu003814499         Brazzers Exxtra - Your Princi-Pal
    PAu003814493         Doctor Adventures - Perks Of Being A Nurse
    PAu003814455         Day With A Pornstar - Day With A Pornstar: Janice
    PAu003814387         ZZ Series - Ghostbusters XXX Parody: Part 3
    PAu003814364         Pornstar Vote - Nicole Aniston Bent Over and Plowed
    PAu003814329         Dirty Masseur - So Wrong Yet So Right
    PAu003814326         Brazzers Exxtra - ZZ Lemonade: Aidra Fox
    PAu003814310         Brazzers Exxtra - If I Was Your Boss
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    PAu003814175         ZZ Series - Pussy O Plomo: Part 3
    PAu003814169         Doctor Adventures - Pussy Is The Best Medicine
    PAu003814135         Stranded Teens - Hottie is Fresh Outta Jail and DTF
    PAu003814078         Day With A Pornstar - Day With A Pornstar: Nikki
    PAu003814050         Hot And Mean - Get Your O And Go
    PAu003814007         Stranded Teens - Stacked Beauty's Big Natural Boobs
    PAu003813992         Brazzers Exxtra - Yoga For Perverts
    PAu003813985         Pornstar Vote - Cosplay Cutie Takes it Deep
    PAu003813962         ZZ Series - ZZ Erection 2016: Part 2
    PAu003813960         Day With A Pornstar - Day With A Pornstar: Dani
    PAu003813899         Lets Try Anal - Beach Blonde's Anal Creampie
    PAu003813891         ZZ Series - Ghostbusters XXX Parody: Part 1
    PAu003813879         Brazzers Exxtra - The Wet Look
                         Day With A Pornstar - Day With A Pornstar: Keisha
    PAu003813870         And Abella
    PAu003813869         ZZ Series - Pussy O Plomo: Part 4
    PAu003813854         Pornstar Vote - August Ames's Oiled Up Titties
    PAu003813832         Pornstar Vote - Housewife Fucks on Kitchen Floor
    PAu003813830         Brazzers Exxtra - Sex And The Sponge Bath
    PAu003813815         Public Pickups - Curly-Haired Euro Babe Begs for It
    PAu003813224         ZZ Series - Pussy O Plomo: Part 2
    PAu003813215         ZZ Series - ZZ Erection 2016: Part 1
    PAu003813191         Lets Try Anal - Latina in Glasses Does Anal
    PAu003813166         Pornstar Vote - Dani Daniels Gets a Creampie
    PAu003813024         ZZ Series - Pussy O Plomo: Part 1
    PAu003813019         Brazzers Exxtra - Meme Lover 2
    PAu003812472         Lets Try Anal - Anal Sex for Natural Sweetheart
    PAu003811596         Brazzers Exxtra - Don't Trust Your Friends
    PAu003810710         Stranded Teens - Aidra Fox Begs For It
    PAu003810706         Lets Try Anal - Teen's Anal Birthday Gift
    PAu003810697         Public Pickups - Hot Euro Chick's Round Ass
    PAu003810690         Brazzers Exxtra - The Cat's Meow (XXX Parody)
    PAu003810301         Stranded Teens - Busty Perv Flashes her Boobs
                         Brazzers Exxtra - Storm of Kings XXX Parody: Behind
    PAu003810024         the Scenes
    PAu003809606         Lets Try Anal - Anal for Tattooed Girlfriend
    PAu003809592         Dirty Masseur - One In the Pink, Under The Sink
    PAu003809537         ZZ Series - Storm Of Kings XXX Parody: Part 4
    PAu003809094         Public Pickups - Euro Blonde Licks the Tip
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    PAu003809093         Latina Sex Tapes - Busty Latina Amateur Fucks Hard
    PAu003808770         Brazzers Exxtra - Unexpected Dinner Guest
                         Brazzers Exxtra - Star Whores: Princess Lay (XXX
    PAu003804387         Parody)
    PAu003804366         Stranded Teens - Brunette Gets in a Stranger's Car
    PAu003804337         Lets Try Anal - GF Tries Anal in the Morning
    PAu003804332         ZZ Series - Storm Of Kings XXX Parody: Part 3
    PAu003804327         Brazzers Exxtra - Pedal To The Anal
    PAu003804320         Pervs On Patrol - Housekeeper Masturbates on Camera
    PAu003804307         Stranded Teens - Stranded Hottie's Wild Ride
    PAu003804093         Brazzers Exxtra - Brandi Love's The Contractors
    PAu003804088         ZZ Series - Storm Of Kings XXX Parody: Part 2
    PAu003804083         Lets Try Anal - Fit Russian's First Anal
    PAu003804061         Public Pickups - Euro Blonde Has Cute Small Tits
    PAu003803009         Lets Try Anal - Samantha Rone's Anal Sextape
    PAu003800623         Public Pickups - Slender Cutie Spreads her Pussy
    PAu003800183         Big Wet Butts - Big Wet Miami Booty
    PAu003799645         Stranded Teens - Pretty Hitchhiker Has a Nice Ass
    PAu003799409         Public Pickups - Hot Chick with Huge Boobs
    PAu003799037         Brazzers Exxtra - My Honey Wants It Rough
    PAu003798979         Brazzers Exxtra - Dollars For Inches
    PAu003798963         Brazzers Exxtra - Sharing My Stepsister
    PAu003798893         Public Pickups - Euro Chick Flashes Ass for Cash
    PAu003798892         Lets Try Anal - Ebony Babe's Anal Vacation
    PAu003796901         Lets Try Anal - AJ Applegate's Anal Study Break
    PAu003796474         Stranded Teens - Stranded Hottie Repays the Favor
    PAu003796467         Dirty Masseur - Post-Match Pussy Part Two
    PAu003796461         Stranded Teens - Flirty Blonde Fucked in Car
    PAu003796459         Brazzers Exxtra - A Strange Case of Bubble Butt
    PAu003796450         Doctor Adventures - The Dick Doctor
    PAu003796244         Latina Sex Tapes - Petite Latina Fucks on the Deck
    PAu003796207         Doctor Adventures - The Last Dick On Earth
    PAu003796047         Brazzers Exxtra - The Great Public Cock Hunt
    PAu003795940         Public Pickups - Bikini Blonde Flashes for Cash
    PAu003795937         Brazzers Exxtra - Big Surprise From Her Brother In Law
    PAu003795935         Latina Sex Tapes - Badass Latina Fucks Handyman
    PAu003795896         Lets Try Anal - Twerking Hottie's Anal Pounding
    PAu003795853         Stranded Teens - Czech Honey's Roadside Sex Tape
    PAu003795842         Lets Try Anal - GF Bends Over Car and Does Anal
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    PAu003795804         Lets Try Anal - Tattooed Cutie has Morning Anal Sex
    PAu003795789         Lets Try Anal - Anal for Jillian Janson
    PAu003795786         Stranded Teens - Petite Latina Gives a Good Blowjob
    PAu003795747         Public Pickups - Euro Babe Rides Dick Outdoors
    PAu003795712         Brazzers Exxtra - Belly Dancing 4 Big Dicks
    PAu003795699         Public Pickups - Mixed Race Hottie's Public Pick-Up
    PAu003795277         Dirty Masseur - Sitting on the Sitter's Dick
    PAu003795251         Public Pickups - Euro Blonde Sucks Stranger Dick
    PAu003795214         Latina Sex Tapes - Latina Does 69 on Camera
    PAu003795196         Stranded Teens - Fit Hitchhiker in Nude Stockings
    PAu003795172         Latina Sex Tapes - Freckled Latina Gets a Facial
    PAu003795171         Lets Try Anal - Busty Teen Tries Anal
    PAu003795146         Brazzers Exxtra - A Horny Devil
    PAu003794878         Lets Try Anal - Athletic Babe has Anal Sex
    PAu003794877         Latina Sex Tapes - Latina Waitress's Kitchen Blowjob
    PAu003794874         ZZ Series - Lost In Brazzers Episode 1
    PAu003794872         ZZ Series - Lost In Brazzers Episode 2
    PAu003794871         Public Pickups - Hot Euro Chick with Big Tits
    PAu003792089         Lets Try Anal - Blonde Babe's Anal Celebration
    PAu003792088         Pervs On Patrol - Badass Chick on her Knees
    PAu003792034         Doctor Adventures - How To Take A Load
    PAu003792011         Brazzers Exxtra - Living With a Girl Is Rough
    PAu003791957         Latina Sex Tapes - Jade Jantzen's Round Latina Booty
    PAu003791937         Public Pickups - Russian MILF Flashes Her Panties
    PAu003791912         Brazzers Exxtra - Sibling Rivalry 2
    PAu003791910         Baby Got Boobs - Two Boobs, One Hole
    PAu003791897         Brazzers Exxtra - Let's Get Facials!
    PAu003791598         Stranded Teens - Indiana Cutie Banged in the Car
    PAu003791233         Lets Try Anal - Cutie's Anal Pajama Party
    PAu003790899         Lets Try Anal - Big Titty GF's First Anal
    PAu003790809         Brazzers Exxtra - A Hitchhiker's Guide To My Cock
                         Doctor Adventures - Son Needs A Doc - Doc Needs A
    PAu003790799         Cock
    PAu003790764         Lets Try Anal - Cute GF Tries Anal on Camera
                         Doctor Adventures - Doctor & Nurse Take A Fucking
    PAu003790757         Break
    PAu003790617         Lets Try Anal - Abella Danger's Anal Sextape
    PAu003790616         Latina Sex Tapes - Petite Latina Gets Banged
    PAu003790614         Public Pickups - Spanish Student's Real Big Boobs
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 PAu003790539          Public Pickups - Euro Babe with Perky Tits
 PAu003790245          Stranded Teens - Shoplifting Rebel Fucks On The Run
 PAu003789413          Dirty Masseur - Rachel Blows Off Some Steam
 PAu003789410          Brazzers Exxtra - ZZ Sex Doll
 PAu003789369          Public Pickups - Spanish Beauty Gives Messy Head
 PAu003789340          Lets Try Anal - Latina Cutie Surprises BF with Anal
 PAu003789230          Project RV - Ohio Hottie Banged in the RV
 PAu003789228          Latina Sex Tapes - Piledriving the Twerking Latina
 PAu003789123          Latina Sex Tapes - Hot Latina Teases with Big Tits
 PAu003789120          Public Pickups - Amirah Adara Gets Face Fucked
 PAu003788775          Doctor Adventures - Sexy Dentist Knows The Drill
 PAu003788745          Brazzers Exxtra - Arrest This Whore
 PAu003788740          Moms in control - Mom's NOT In Control
                       Brazzers Exxtra - Why Don't You Pick On Someone
 PAu003788727          Your Own Size
 PAu003788688          Stranded Teens - Blonde College Chick Goes Wild
 PAu003788687          Lets Try Anal - Badass Stepsister Tries Anal
 PAu003787244          Brazzers Exxtra - Double Penetrate Date
 PAu003787242          Doctor Adventures - Hot Nurse Gets The Cock Pumpin'
 PAu003787150          Brazzers Exxtra - A Long Rough Night
 PAu003787147          Lets Try Anal - Spinner's First Anal O
 PAu003787114          Mofos B Sides - Busty Wife's Afternoon Squirt
 PAu003787093          Project RV - Curvy Chick Takes it Doggystyle
 PAu003786956          Brazzers Exxtra - Netdicks and Chill
 PAu003786874          Brazzers Exxtra - Rachel Starr Surprise
 PAu003786820          Project RV - Cassidy Banks Gets Freaky in the RV
 PAu003786815          Latina Sex Tapes - Sassy Latina Works Her Pussy
 PAu003786812          Brazzers Exxtra - Stepsister Shares The Shower
 PAu003786796          Public Pickups - Feisty Euro Chick On All Fours
 PAu003786667          Latina Sex Tapes - Latina Rides Reverse Cowgirl Style
 PAu003786656          Brazzers Exxtra - Rowdy Armbar Goes Too Far
 PAu003786649          Brazzers Exxtra - Kalina Loves It Rough
 PAu003786609          Lets Try Anal - Blonde Spinner Tries Anal
 PAu003786522          Real Wife Stories - Horny Wife Gets Her Fix
 PAu003786487          Public Pickups - Hot Russian Fucks for Money
 PAu003786395          Stranded Teens - French Blonde in Red Lipstick
 PAu003786381          Public Pickups - Euro Cutie Takes a Sexy Survey
 PAu003786281          Brazzers Exxtra - Stepmom Likes It Rough
 PAu00378626           Busted Babysitters - MILF Teaches Spinner a Lesson
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 PAu003784988          Brazzers Exxtra - Your Father Fucks Me Harder
 PAu003784946          Stranded Teens - Sex Outside with Ebony Cutie
 PAu003784941          Public Pickups - Tight Spinner Gags on Cock
 PAu003784938          Latina Sex Tapes - Spicy Latina Loses Bet
 PAu003784841          Lets Try Anal - Amateur Anal in the Morning
 PAu003784816          Teens Like It Big - Shy Redheads Like It Rough
 PAu003784758          Stranded Teens - Teen Spinner's Phone Sex Gets Crazy
 PAu003784747          Real Slut Party - Euro Pool Party Goes Wild
                       Busted Babysitters - Horny MILF Catches Big Tit
 PAu003784110          Babysitter
 PAu003784099          Brazzers Exxtra - Spanking The Secretary
 PAu003784076          Public Pickups - Eager Babe Flashes Big Natural Tits
 PAu003784068          Brazzers Exxtra - Just Go For It
 PAu003783869          Lets Try Anal - Yoga Blonde Does Anal
 PAu003783868          Brazzers Exxtra - Rough Time For A Tiny Tease
 PAu00378340           Big Wet Butts - Karma's a Big Butt Bitch
 PAu003783389          Latina Sex Tapes - Latina Flashes Huge Boobs
 PAu003783387          Lets Try Anal - Euro Brunette's First Anal
 PAu003783384          Brazzers Exxtra - A Piece of Jasmine Jae's Ass
 PAu003783269          Brazzers Exxtra - Brazzers Heavenly Bodies
 PAu003783261          Brazzers Exxtra - Vegetable Cock Tale
 PAu003783256          Brazzers Exxtra - A Reporter In The Rough
 PAu003783232          Real Wife Stories - Wife Showers With The Babysitter
 PAu003783223          Dirty Masseur - Getting Messy With the Wifey
 PAu003783158          Stranded Teens - Cute Teen Grinds On A Dick
 PAu003783123          Lets Try Anal - Czech Chick's Anal Sextape
 PAu003783119          Stranded Teens - Naughty Teen Banged From Behind
 PAu003783111          Latina Sex Tapes - Athletic Latina Has Naughty Sex
 PAu003783028          Mofos B Sides - She Likes it Hard
 PAu003782998          Public Pickups - Tanned Honey Gets Picked Up
                       Pornstars Like it Big - She Wants Big Cock and She
 PAu003782946          Wants It Now
 PAu003782638          Lets Try Anal - Ebony Angel's First Anal Fuck
 PAu003782559          Brazzers Exxtra - Return of the Stalker
 PAu003782504          Pervs On Patrol - Twerking Cutie Gets Perved On
 PAu003782495          Pervs On Patrol - Rough Sex on a Blind Date
 PAu003782489          Big Wet Butts - Ass-tonishing Big Wet Booty
 PAu003782460          Public Pickups - Brunette Sucks Dick For Cash
 PAu003782455          Public Pickups - Czech Hottie Sits on a Dick
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 PAu003782442          Doctor Adventures - Awful Doc Takes The Cock
 PAu003782417          Brazzers Exxtra - Cocks For The Copper
 PAu003778639          Pervs On Patrol - Hot Teen Spied on by Her Pool
 PAu003778632          Brazzers Exxtra - I'm Not Leaving!
 PAu003777407          Lets Try Anal - Sexy Blonde's First Anal Pounding
 PAu003777398          Stranded Teens - Stranded Cutie Gets Fucked
 PAu003777392          Latina Sex Tapes - Hot Latina Teases Boyfriend
 PAu003775552          Brazzers Exxtra - Serving the Landlord's Daughter
 PAu003775508          Doctor Adventures - ZZ Hospital - Tiffany's First Day
 PAu003775190          Public Pickups - Hot Teen Gives Good Head
 PAu003775173          Pervs On Patrol - Sexy Roommate Caught On Camera
 PAu003774879          Latina Sex Tapes - Busty Latina Titty Twerks
 PAu003774851          Real Wife Stories - Wife Fucks Boss On Business Trip
 PAu003774765          Dirty Masseur - Rubbing Down A Horny Slut
 PAu003774761          Lets Try Anal - Girlfriend's First Anal Sextape
 PAu003774760          ZZ Series - NEVER GET MARRIED: The Revenge
 PAu003774535          Brazzers Exxtra - The Slut In The Cupboard
 PAu003774533          Public Pickups - Classy Russian Doesn't Wear Panties
 PAu003773896          ZZ Series - NEVER GET MARRIED: The Threesome
 PAu003773847          ZZ Series - NEVER GET MARRIED: The Aftermath
 PAu003773843          Teens Like It Big - Shy Redheads Like It Big
 PAu003773831          Public Pickups - Smokin French Blonde Flashes Tits
 PAu003773623          Lets Try Anal - Anal Experiment Sex Tape
 PAu003773606,         Brazzers Exxtra - Marsha Raises the Bar
 PAu003773602          Stranded Teens - Horny Babe In Search Of Cock
 PAu003773592          Latina Sex Tapes - Latina In Braces Banged Deep
 PAu003773571          Mofos B Sides - All Natural Honey With Big Butt
 PAu003772575          Brazzers Exxtra - Banging The Ballerina
 PAu003772574          Lets Try Anal - Bikini Blonde's Amateur Anal
 PAu003772542          Public Pickups - Czech Gal Gets Picked Up
 PAu003772535          Doctor Adventures - Doctor Cum Control
                       ZZ Series - NEVER GET MARRIED: The Downward
 PAu003772313          Spiral
 PAu003772307          Pervs On Patrol - Neighbor Pervs On Hot Babe
 PAu003772160          Stranded Teens - Demanding Teen Fucks In Car
 PAu003771753          Hot And Mean - Getting Mean With Tasha's Asshole
 PAu003771749          Public Pickups - French Model In Pink Panties
 PAu003771748          Mofos B Sides - Two Chicks Take Turns Riding Cock
 PAu003771739          Brazzers Exxtra - When East Blows West
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 PAu003771650          Real Wife Stories - Trophy Wife Teases The Pool Boy
 PAu003771515          Lets Try Anal - Pop Star's Anal Footage
 PAu00377151           Brazzers Exxtra - The Rough Shagging Shrink
 PAu003770942          Big Wet Butts - Fourth of July: Big Butt Independence
 PAu003770863          Dirty Masseur - Deep and Juicy with Miss Jensen
 PAu003770262          Doctor Adventures - The Resident Slut: Part Two
 PAu003770252          Latina Sex Tapes - Spicy Latina Maid Gets Banged
 PAu003770153          Big Tits at School - Big Tits On The Bottom Bunk
 PAu003770144          Stranded Teens - Chloe's Red Lips Suck Dick
 PAu003770138          Brazzers Exxtra - Tiny Chicks Take Big Hard Dick
 PAu003770135          Public Pickups - Bubble Butt Blonde Public Seduction
 PAu003769959          Doctor Adventures - The Resident Slut: Part One
 PAu003769957          ZZ Series - Brazzers House: Behind the Scenes
 PAu003769951          Public Pickups - British Brunette Fucks a Tourist
 PAu003769703          Lets Try Anal - Anal Sex Birthday Surprise
 PAu003768715          Real Wife Stories - My Horrible Boss' Wife
 PAu003768707          Public Pickups - Hot Russian Flashes Her Titties
 PAu003768705          Mofos B Sides - GF Teases Dude's Dick
                       Big Butts Like It Big - Sticking It Into Sofia's Big Juicy
 PAu003768704          Cucci
 PAu003768310          Stranded Teens - Babe Says Thanks With A BJ
 PAu003768139          Doctor Adventures - Creepy Doc Gives Her The Cock
 PAu003768123          Brazzers Exxtra - Monique is a Sweet Creampie Dream
 PAu003768118          Public Pickups - Naughty Cutie Bangs In The Woods
 PAu003767777          Lets Try Anal - Yoga Latina Post-Shower Anal
 PAu003767770          Brazzers Exxtra - Time To Prove Yourself
 PAu003767753          Mofos B Sides - Naughty Cowgirl Rides Dick
 PAu003767621          Mofos B Sides - Workout Slut Gets Balled
 PAu003767619          Public Pickups - Czech Hottie's Got Perfect Tits
 PAu003767609          Lets Try Anal - Anna's Sweet Anal Surprise
                       Baby Got Boobs - Ask Me Anything About My Big
 PAu003767606          Boobs
                       Real Wife Stories - My Pudgy Husband, My Whorish
 PAu003767582          Wife
 PAu003767549          Brazzers Exxtra - Fuck Me Earthling
 PAu003767425          Stranded Teens - Chick Gets Rescued Then Fucked
 PAu003767403          Big Wet Butts - Slipping Into Shay's Big Wet Ass
 PAu003766677          Brazzers Exxtra - ZZ Recruits: Agent Katrina
 PAu003766675          Mofos B Sides - Blonde Babe Fucks Over Breakfast
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 PAu003766671          Stranded Teens - Hitchhiking Russian Fucks for a Ride
 PAu003766670          Doctor Adventures - Don't Just Kiss Ass, Fuck It!
 PAu003766628          Stranded Teens - Horny French Amateur Car Sex
 PAu003766599          Dirty Masseur - Don't Touch Her Ta-Tas
 PAu003766597          Real Wife Stories - My Cop Sucking Wife
 PAu003766576          Latina Sex Tapes - Latina Spinner Rides a Cock
 PAu003766401          Brazzers Exxtra - Peta Pays Your Cock a Visit
 PAu003766202          Public Pickups - Russian Redhead Is Easily Seduced
 PAu003766197          Brazzers Exxtra - Kim K Fucks The Paparazzi
 PAu003766126          Big Wet Butts - Big White Phat Anal Booty
 PAu003765639          Brazzers Exxtra - She's On The Prowl
 PAu003765636          Brazzers Exxtra - Grinding Your Muse
 PAu003765626          Lets Try Anal - Read the Signs: She Wants Anal
 PAu003765615          Mofos B Sides - Amateurs Film Hotel Threesome
 PAu003765538          Public Pickups - Russian Cutie Flashes for Cash
 PAu003765504          Doctor Adventures - Always Listen To Your Doctor
 PAu003765497          Mofos B Sides - Teen Rides her Boyfriend at Work
 PA0002311058          RK Prime - Winner Takes It All Up The Butt
 PA0002311045          RK Prime - Big Tits And Heavy Balls
                       RK Prime - My Roommate Wants To Take My
 PA0002310730          Virginity?!
 PA0002310404          Brazzers Exxtra - Milking Table For Big Naturals
 PA0002310377          Brazzers Exxtra - Strapping On A Second Dick
 PA0002310353          Brazzers Exxtra - Sneaky Pool Sex
 PA0002310349          Brazzers Exxtra - Sneaky 69 Dupes Boyfriend
 PA0002310347          Brazzers Exxtra - Skinny Dippin' Titties
 PA0002310332          Brazzers Exxtra - Not Every Venture...
 PA0002310233          RK Prime - Flasher Takes It In The Ass
 PA0002310216          Brazzers Exxtra - Call Him Over
 PA0002310211          Brazzers Exxtra - Big Wet Bounce
 PA0002309105          Brazzers Exxtra - Ratings Up The Ass!
 PA0002308349          Brazzers Exxtra - Cheater Gets the Dildo Drawer
 PA0002304565          Brazzers Exxtra - Fucking The Hotel Staff
 PA0002304552          RK Prime - Coco Loves To Take Her Roommate's Cock
 PA0002304539          Brazzers Exxtra - Anal Fisting Missing Keys
 PA0002304516          RK Prime - Alina Ali Gets Pounded In Public
 PA0002304305          Hot And Mean - Wet And Wild Dinner Party
 PA0002303680          Brazzers Exxtra - Unzip And Slip That Dick
 PA0002303597          RK Prime - Her Roommate's Pussy is Better
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 PA0002303596          Brazzers Exxtra - Gamer Girl Threesome Action
 PA0002303592          RK Prime - Gamer Girl Bangs Her Roommate
 PA0002303028          Brazzers Exxtra - Running Through His Head
 PA0002303001          Brazzers Exxtra - Handyman's Secret Joy
 PA0002302990          Brazzers Exxtra - Blu Flames Burn Hotter
 PA0002302989          Brazzers Exxtra - Ass Slap Double Pussy Tap
 PA0002302903          RK Prime - Coffee Shop Cutie Gets Creamed
 PA0002302886          Brazzers Exxtra - High Five For Double Penetration!
 PA0002302265          RK Prime - Your Stuff Or My Pussy
 PA0002302247          Brazzers Exxtra - Tag Teaming The Glampers
 PA0002302244          Brazzers Exxtra - Squirt, Don't Swallow
 PA0002302214          Brazzers Exxtra - MILF's Got Good Threeway Game
 PA0002302213          Brazzers Exxtra - Look At All That Cash!
 PA0002302212          Brazzers Exxtra - I Detect An Ass That Wants Training
 PA0002302167          RK Prime - Can You Handle the Curves?
 PA0002302127          Brazzers Exxtra - Botched Doggy Door
 PA0002301839          RK Prime - Teasing the Security Cam Voyeur
 PA0002301833          Brazzers Exxtra - Make You Cum First
 PA0002301828          Brazzers Exxtra - Wedding Smashers Part 3
 PA0002298938          Mofos B Sides - Giant Going-Away Gift
 PA0002297166          Brazzers Exxtra - Trainer Wants To Fuck: Part 2
 PA0002270212          RK Prime - The Mile High Groupie Jetaway
 PA0002270185          RK Prime - RK At Home: Follow Vixtor's Voice
 PA0002270155          RK Prime - RK At Home: Dinner For You
 PA0002270153          RK Prime - RK At Home: Cum Challenge
 PA0002270147          RK Prime - RK At Home: Catcalling Catalina
 PA0002270126          RK Prime - Hiding Him From Her Husband
 PA0002270049          RK Prime - Cheating Wife's Big Tits Workout
 PA0002270024          RK Prime - Big Tits And Vibrator Tricks
 PA0002270021          RK Prime - Cumming In My Boyfriend's Briefs
 PA0002270013          RK Prime - Fuck The Horniness Out Of Me!
 PA0002270011          RK Prime - Hot Sex On A Ladder
 PA0002269136          RK Prime - Amazing Body On Cooking Cutie
                       RK Prime - RK At Home: Spying On Big Tiddy
 PA0002269130          Roommate
 PA0002269121          RK Prime - Catching Lola In The Wild
 PA0002269119          RK Prime - RK At Home: Fuck Me Until I Can't Think
 PA0002266504          RK Prime - RK At Home: CFNM Yola Squirts For You
 PA0002266385          RK Prime - RK At Home: Did I Do Better?
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 PA0002266382          RK Prime - RK At Home: Cute Hime Craves Cock
 PA0002264939          Brazzers Exxtra - Snowbanging: Part 3
 PA0002264360          RK Prime - RK At Home: Do It For Tori
 PA0002264345          RK Prime - RK At Home: Are You Worthy
 PA0002264326          RK Prime - RK At Home: Trying To Work
 PA0002264320          RK Prime - RK At Home: Backyard Tease
 PA0002262962          Brazzers Exxtra - Ready, Aim, Anal!
 PA0002262961          RK Prime - RK At Home: Siouxsie Q
 PA0002262960          RK Prime - RK At Home: Endurance Run
                       Day With A Pornstar - Day With A Pornstar: Alexis
 PA0002262915          Fawx
 PA0002262870          RK Prime - RK At Home: Ariana Simon
 PA0002260857          Lil Humpers - The Humper And The Humpette
                       RK Prime - RK At Home: Tiny Danika Stretched By
 PA0002260634          Huge Dick
 PA0002260633          RK Prime - RK At Home: Fuck Me, Forgive Me
 PA0002260631          Big Naturals - RK At Home: Caught Chloe Being Kinky
 PA0002260630          RK Prime - RK At Home: Alt Girl Telari Shows It All
 PA0002260624          Captain Stabbin - Keira Craves The Captain's Cock
 PA0002260619          RK Prime - Getting Nasty with the Nurse
 PA0002259484          Public Pickups - Sucking And Fucking A Kind Stranger
 PA0002259464          Mofos B Sides - Slutty Striptease In Stockings
 PA0002259461          Stranded Teens - Where's That Cheating Little Slut?
 PA0002259242          Public Pickups - Sucking Dick For A Sugar Daddy
 PA0002259239          Stranded Teens - Save Me, Then Pound My Pussy
 PA0002259236          Lets Try Anal - Horny And Open To Anal
 PA0002258966          Brazzers Exxtra - Aerial Downward Doggystyle
 PA0002258717          Brazzers Exxtra - Surprise Bathtub Banging
 PA0002258703          Brazzers Exxtra - School Of Hard Knockers
 PA0002258502          Brazzers Exxtra - The Naked Wife
 PA0002258472          Brazzers Exxtra - Anal Prescription Pickup
 PA0002258471          Brazzers Exxtra - Best Of Brazzers: Porn Watches Back
 PA0002258342          RK Prime - Hungry for the Sweet Thing
 PA0002258256          RK Prime - RK At Home: Posh Princess Craves Cock
 PA0002258009          Captain Stabbin - Episode 7: The Dark Middle Chapter
 PA0002257752          RK Prime - Banged by the Brand New Tool
 PA0002257749          RK Prime - RK At Home: Avery's Fake Fight
                       RK Prime - RK At Home: Kaisa's Teasing Sloppy Dildo
 PA0002257641          Play
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 PA0002257636          RK Prime - RK At Home: Codi's Crafty Corner
                       Brazzers Exxtra - Best Of Brazzers: Nurse Appreciation
 PA0002257131          Day
 PA0002257124          Brazzers Exxtra - Best Of Brazzers: Sneakiest Moments
 PA0002254706          RK Prime - Surprised by the Big Package
 PA0002254521          RK Prime - Face-To-Face: Emily & Jane
 PA0002254517          RK Prime - Angela White vs Rob Piper
 PA0002253219          Brazzers Exxtra - His Hands Are Tied
 PA0002253216          Stranded Teens - Fucking Stepdad For A Ride
 PA0002253196          Lets Try Anal - Come In For Some Tea and Anal
 PA0002253003          Brazzers Exxtra - Bodacious Bikini Threesome
 PA0002252897          Brazzers Exxtra - Maid For A Threesome
 PA0002252887          Brazzers Exxtra - Best Of Brazzers: Sharing Stepsiblings
 PA0002252684          Brazzers Exxtra - Soaking Wet And Fully Satisfied
 PA0002252406          Brazzers Exxtra - Rough And Raunchy Group Fuck
 PA0002252189          Brazzers Exxtra - Best Of Brazzers: Peta Jensen
 PA0002252181          Brazzers Exxtra - Best Of Brazzers: Ava Addams
 PA0002252179          Brazzers Exxtra - Best Of Brazzers: Anal Extravaganza
 PA0002252176          Brazzers Exxtra - Best Of Brazzers: Hottest Bosses
 PA0002251889          RK Prime - Cecilia Lion Vs Ricky Johnson
 PA0002251122          RK Prime - A Goddess on her Own Terms
 PA0002251121          RK Prime - Splish Splash Anal Oil Bath
 PA0002249816          Brazzers Exxtra - Jumping For Jizz
 PA0002249814          Brazzers Exxtra - Best Of Brazzers: Meanest Lesbians
 PA0002249809          Brazzers Exxtra - Best Of Brazzers: Squirt Fest
 PA0002249806          Brazzers Exxtra - A Mistress For All Seasons
 PA0002249800          Brazzers Exxtra - Anal Double Dip
 PA0002249798          Brazzers Exxtra - Best Of Brazzers: Madison Ivy
 PA0002249795          Brazzers Exxtra - The Threesome Tutorial
 PA0002249791          Brazzers Exxtra - Who Owns Whom
 PA0002249790          Brazzers Exxtra - Group Pers-Anal Training
 PA0002249789          Brazzers Exxtra - Best Of Brazzers: Titty Tuesday
 PA0002249776          Doctor Adventures - Use It Or Lose It
 PA0002249774          Brazzers Exxtra - Look At Luna
 PA0002249376          RK Prime - Paige Owes Me A Shower
 PA0002249372          Lil Humpers - Lil Lawn Gnome
                       Sneaky Sex - I Fucked Your Boyfriend To Make You
 PA0002249361          Mad
 PA0002249360          Dirty Masseur - How To Fuck Your Masseur
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 PA0002248977          Brazzers Exxtra - Revel In A Blue Dress
 PA0002247968          Brazzers Exxtra - Red Light Romp
 PA0002247960          Brazzers Exxtra - Sneaky Shower Threesome
 PA0002247957          Brazzers Exxtra - All Dolled Up: Anal Edition
 PA0002247954          Hot And Mean - A Hot And Mean Proposition
 PA0002247657          Brazzers Exxtra - The Malcontent Mistress: Part 2
 PA0002247364          Brazzers Exxtra - Clitical Check Up
 PA0002246726          Brazzers Exxtra - Pay To Lay
 PA0002246309          Brazzers Exxtra - Don't Back Out On Me Now
 PA0002245751          Brazzers Exxtra - Hopping On A Cock
 PA0002245365          Lil Humpers - Geeky Lil Bastard
 PA0002245363          Sneaky Sex - If You're Cheating, So Am I
 PA0002245299          RK Prime - Kendra And Carmen Take Cali
 PA0002244986          Brazzers Exxtra - The Guru Of Gape
 PA0002244939          Brazzers Exxtra - Price To Pay
 PA0002244935          Brazzers Exxtra - Pocket Pussy Anal
 PA0002244921          Brazzers Exxtra - Getting Fucked On My Side
 PA0002244920          Brazzers Exxtra - Getting An Eyeful
 PA0002244903          Brazzers Exxtra - Eye Of The Cuckold
 PA0002244878          Brazzers Exxtra - Day With A Porn Writer
 PA0002243891          Brazzers Exxtra - One Sneaky Stripper
 PA0002243890          Brazzers Exxtra - A Room With A Cock
                       Day With A Pornstar - Day With A Pornstar: Victoria
 PA0002243887          June
 PA0002243883          Brazzers Exxtra - Saturday Night Beaver
 PA0002243881          Brazzers Exxtra - Special Assistant To Ms. Kapri
 PA0002243877          Brazzers Exxtra - I Hate You, Let's Fuck
 PA0002243864          Brazzers Exxtra - Pounding Payton's Pussy
 PA0002243131          Share My BF - Roommate Thief Shares BF
 PA0002243064          Brazzers Exxtra - Hide The Pickle
 PA0002243061          Brazzers Exxtra - Diva For A Day
 PA0002242972          Stranded Teens - Hottie Has Nowhere To Go
 PA0002242832          Share My BF - Prepping My Hot BF
 PA0002242693          Public Pickups - Car Loving Hottie Horny For Cock
 PA0002242078          Sneaky Sex - Turning Her Off And On Again
 PA0002241546          Brazzers Exxtra - Anal About Chores
 PA0002241443          Brazzers Exxtra - Facial By Surprise
 PA0002241414          Brazzers Exxtra - Wrong Side Of The Bed
 PA0002241408          Brazzers Exxtra - Dicking The Dutiful Wife
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 PA0002241375          Brazzers Exxtra - I Thought You Hated Yoga
 PA0002241373          Brazzers Exxtra - Fuck From Experience
 PA0002241002          Big Naturals - Big Titty Barista
 PA0002240404          Brazzers Exxtra - The Husband Trap
                       Day With A Pornstar - Day With A Pornstar: Desiree
 PA0002240399          Dulce
 PA0002240353          Brazzers Exxtra - Where's Your Ring? Part 3
 PA0002240351          Brazzers Exxtra - Where's Your Ring? Part 2
 PA0002240326          Brazzers Exxtra - Grinding A Gamer
                       Day With A Pornstar - Day With A Porn Star: Monique
 PA0002240320          Alexander
 PA0002238817          Lil Humpers - A Lil Fan Service
 PA0002238697          Real Wife Stories - You Gotta Help My Wife!
 PA0002238695          Brazzers Exxtra - Are You Getting Off?
 PA0002238691          Brazzers Exxtra - Blonde Domme-Ination
                       Day With A Pornstar - Day With A Pornstar: Nicolette
 PA0002238689          Shea
 PA0002238551          Brazzers Exxtra - The Gift Of Cock
 PA0002238035          Brazzers Exxtra - Amber In The Hills: Part 2
 PA0002238028          RK Prime - Taking Him For All He's Worth
 PA0002237750          Brazzers Exxtra - Love Is Blindfolded
 PA0002237741          Brazzers Exxtra - Go With The Flow
 PA0002237740          Brazzers Exxtra - Early Morning Anal
                       Day With A Pornstar - Day With A Pornstar: Katrina
 PA0002237734          Jade
 PA0002237699          Brazzers Exxtra - Amber In The Hills: Part 3
 PA0002237358          Sneaky Sex - Sneaky Lesbian Workout
 PA0002237356          Big Naturals - Big Tit Testing
 PA0002237354          RK Prime - May The Best Girl Win
 PA0002236940          Brazzers Exxtra - Our Not-So-Timid Tenant
 PA0002236922          Brazzers Exxtra - Porn Logic 3
 PA0002236815          Brazzers Exxtra - Dripping In Jewelz
 PA0002236805          Brazzers Exxtra - Ramming The Raver
 PA0002236792          Brazzers Exxtra - Man(nequin) Up And Fuck
 PA0002236773          Moms in control - A Lesson In Footplay
 PA0002236725          Brazzers Exxtra - The Trip: Part 2
 PA0002236402          Brazzers Exxtra - The Trip: Part 1
 PA0002236167          Brazzers Exxtra - Sibling Rivalry 4
 PA0002236132          Brazzers Exxtra - In The Pink
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                       Day With A Pornstar - Day With A Pornstar: Gina
 PA0002236048          Valentina
 PA0002236038          Brazzers Exxtra - Balled-Room Dancing
 PA0002236031          Brazzers Exxtra - Five-Star Dick
 PA0002236025          Brazzers Exxtra - Big Tits Save Lives
 PA0002235887          Brazzers Exxtra - An Eyeful Of Emma
 PA0002235774          Brazzers Exxtra - Trading Up Times Two
 PA0002235772          Mommy Got Boobs - Mom's Got New Boobs!
 PA0002235771          Brazzers Exxtra - Sexy As Sin
                       Brazzers Exxtra - The Dommes Next Door: Double
 PA0002235767          Dommed
 PA0002235765          Brazzers Exxtra - The Businesswoman's Special
 PA0002235328          RK Prime - It Was The Fucking Realtor
 PA0002234855          Stranded Teens - We All Scream For Ice Cream
 PA0002234762          Big Naturals - Big Natural Treats
 PA0002234143          Brazzers Exxtra - My Girlfriend's Girlfriend
 PA0002234087          Lil Humpers - The Naughtiest Lil Elf
 PA0002234059          Brazzers Exxtra - Cock And Frisk
 PA0002234057          Brazzers Exxtra - Brook's Erotic Escape
 PA0002234052          Brazzers Exxtra - Bianca's Bangin' Bod
 PA0002233826          RK Prime - Petite Jessica Meets The Kings
 PA0002232982          Sneaky Sex - Tied Up For The Holidays
 PA0002232975          Round and Brown - Step and Repeat Offender
 PA0002232960          Brazzers Exxtra - Trippy Hula Hippie
 PA0002231704          RK Prime - Giving Him A Hard Time
 PA0002231100          Brazzers Exxtra - Load Size: Jordi's Max
 PA0002231098          Brazzers Exxtra - Lessons From the Champ
 PA0002230185          Lil Humpers - Dr. Jordi, Lil MD
 PA0002230181          Lil Humpers - Don't Mind Him
 PA0002230177          Lil Humpers - The Lil Freak Under the Sheets
 PA0002228969          Big Naturals - Registered Nurse Naturals
 PA0002228436          Brazzers Exxtra - Stretch That Ass Out
 PA0002228433          Brazzers Exxtra - I'll Show You How
 PA0002228430          Brazzers Exxtra - Boned By The Butler: Part 1
 PA0002228400          Pervs On Patrol - Spying On Dat Ass
 PA0002227463          Sneaky Sex - Bound To Be A Happy Birthday
 PA0002227388          Sneaky Sex - Would You Like A Taste?
 PA0002227385          Brazzers Exxtra - Sex With My Ex
 PA0002227365          Brazzers Exxtra - The ZZ Tanning Salon
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 PA0002227362          Brazzers Exxtra - Cucking The Coach
 PA0002227172          Brazzers Exxtra - Feels Good To Be Bad
 PA0002227171          Brazzers Exxtra - Cross-Training For Cock
 PA0002227168          Brazzers Exxtra - MILF Witches: Part 2
 PA0002227162          Milfs Like it Big - MILFs Like It BBC
 PA0002227118          RK Prime - Have Your Cake And Eat It Too
 PA0002227057          Brazzers Exxtra - Banged Behind Bars
 PA0002227053          Brazzers Exxtra - Anissa From All Angles
 PA0002226961          Brazzers Exxtra - The Maid's Dirty Secret
 PA0002226945          Pervs On Patrol - Perving On His Sister
 PA0002226917          Share My BF - Fight Over My Cock
 PA0002226914          Brazzers Exxtra - Creeping In Her Crypt
 PA0002226879          Brazzers Exxtra - Getting Her Fill
 PA0002226871          Brazzers Exxtra - You Don't Need A Cock: Part 2
 PA0002226577          Brazzers Exxtra - Mary Jean's Balloons
 PA0002226570          Sneaky Sex - It's Your Turn to Drive the Sitter Home
 PA0002226566          Brazzers Exxtra - I'll Fuck Who I Want!
 PA0002226547          Brazzers Exxtra - Disciplining Their Sugar Daddy
 PA0002226124          Big Naturals - Seven Minutes IN Titty Heaven
 PA0002222512          Brazzers Exxtra - Strike A Pose
 PA0002222484          Brazzers Exxtra - Stroking The Guard's Post
 PA0002222483          Brazzers Exxtra - Prime Suspect Pounding
 PA0002222327          Brazzers Exxtra - Party For One
 PA0002222321          Share My BF - My BFs Cheating Boyfriend
 PA0002222315          Brazzers Exxtra - Let's All Fuck In The Lobby
 PA0002222260          Brazzers Exxtra - Dirty Double Dare
 PA0002222259          Brazzers Exxtra - Demi Works Out A Cock
 PA0002221862          Sneaky Sex - Catch Me If You Cam
 PA0002202503          Brazzers Exxtra - Caught Up In Abella
 PA0002202493          Brazzers Exxtra - Bad To The Granny Bone
 PA0002202280          Brazzers Exxtra - She's Not What She Seems: Part 2
 PA0002202270          Brazzers Exxtra - Katana Works It
 PA0002202266          Stranded Teens - Helping Out A Latina In Need
 PA0002202003          Brazzers Exxtra - She'll Steele Your Heart
 PA0002201862          Public Pickups - For The Love of Lindsey
 PA0002200760          Public Pickups - Cold Outside Smoking Hot Indoors
 PA0002200747          Brazzers Exxtra - A Family Affair: The Reunion Part 3
 PA0002200370          Big Naturals - Hottest Yoga Youll Ever See
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                       Public Pickups - Beautiful Day In The Fucking
 PA0002200335          Neighborhood
 PA0002199823          Brazzers Exxtra - Tits Out And Toned
 PA0002199814          Brazzers Exxtra - I Thought I Was The Criminal
 PA0002199811          Brazzers Exxtra - A Family Affair: The Reunion Part 2
 PA0002199329          Brazzers Exxtra - V Is For Vigilante
 PA0002199289          Dirty Masseur - The Massage She Really Wants
 PA0002198938          Brazzers Exxtra - Hosed Up, Ho's Down
 PA0002198348          Milf Hunter - Surveying The Milf
 PA0002198347          RK Prime - My Stepdaughter The Cam Girl
 PA0002198345          RK Prime - Working Out With The Foxx
 PA0002198344          Monster Curves - Light Night Curves
 PA0002197058          Brazzers Exxtra - Happy Masturbation Month!
 PA0002196807          Sneaky Sex - Dont Let My Dad Hear Us Banging
 PA0002196770          Brazzers Exxtra - Hooked On Her Booty
 PA0002196757          Brazzers Exxtra - A Family Affair: The Reunion Part 1
 PA0002196121          Brazzers Exxtra - I Don't Know Her
 PA0002196086          Brazzers Exxtra - The Getaway: Part 2
 PA0002196074          Brazzers Exxtra - This Could Be The End
 PA0002194574          Mommy Got Boobs - Bet You Can't Touch Her Boobs!
 PA0002182551          Brazzers Exxtra - Lounging For Sex
 PA0002182546          Public Pickups - Lessons In Public Pickups
 PA0002173145          Big Naturals - Big Titty Bed Creep
 PA0002173141          Milf Hunter - Friendly Neighborly Milf
 PA0002172737          RK Prime - Club Cougar Joins The Party
 PA0002172714          Brazzers Exxtra - All That Glitters Is Lela
 PA0002172705          Pervs On Patrol - Peeping On A VR Thief
 PA0002171537          Big Naturals - Thicker The Berry Sweeter The Juice
 PA0002171523          RK Prime - Her Ex Fucks Her The Best
 PA0002171492          Sneaky Sex - My Mechanic Fucked My Wife
 PA0002171486          Milf Hunter - What Is In Your Luggage
 PA0002171119          Big Tits at Work - Wild Women at Work
 PA0002171108          Brazzers Exxtra - Sneaking In The Back Door
 PA0002170830          Lets Try Anal - Brazilian Beauty Tries Anal
 PA0002170824          Brazzers Exxtra - Cock Blocked By Mom
 PA0002170814          Mofos B Sides - Pamela Makes A Sex Tape
 PA0002170707          Brazzers Exxtra - ZZ Improv: Sex, And...
 PA0002146301          Big Naturals - Big Natural Nip Slips
 PA0002145989          Brazzers Exxtra - The Mystique Of Madison
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 PA0002145874          Brazzers Exxtra - Say Hello to Her Little Friend
 PA0002144467          Brazzers Exxtra - Caught Talking Dirty
 PA0002144461          Brazzers Exxtra - Fuck Me By The Fire
 PA0002144459          Brazzers Exxtra - The Ass On Canela
 PA0002144455          Brazzers Exxtra - Lexi Gets Drenched
 PA0002144451          Mommy Got Boobs - Mommy Always Says Yes
 PA0002144341          Pornstars Like it Big - Pornstars Are Just Like Us!
 PA0002144326          Dirty Masseur - Emma Gets All Oiled Up
 PA0002144321          Brazzers Exxtra - Black Friday Fuckfest
 PA0002144193          Brazzers Exxtra - Sandy Siren Of The Skies
 PA0002144094          Brazzers Exxtra - What A Maid Wants
 PA0002143970          Milf Hunter - When Lisa Ann Cums Over
 PA0002143728          Big Naturals - Big Tiddy Goth Gf
 PA0002143472          Moms Lick Teens - Learning To Lounge And Lick
 PA0002143366          Brazzers Exxtra - Bench Press My Biddy
 PA0002143356          Brazzers Exxtra - Dildos In The Drain Pipe
 PA0002143187          Stranded Teens - Stranded In My Feelings
 PA0002143184          Brazzers Exxtra - Sex With The Scarecrow
 PA0002143144          Brazzers Exxtra - Visiting Hour Plower
 PA0002143129          Sneaky Sex - You Snooze You Lose Too
 PA0002143116          RK Prime - Shake Those Hips N Tits
 PA0002143114          Mike's Apartment - She Drives A Hard Bargain
 PA0002143109          Mike's Apartment - Party Girl Wants A Fucking Fiesta
 PA0002143107          Milf Hunter - Pool Hall Milf
 PA0002142839          Girls Gone Pink - Girls Gone POV
 PA0002142529          Pure 18 - Geek Girl Gets It Rough
                       Mofos B Sides - Kawaii In The Streets, Senpai In The
 PA0002142484          Sheets
 PA0002140090          Sneaky Sex - Searching For A Selfie Slut
 PA0002140054          RK Prime - One Hell Of A Pounding
 PA0002139908          RK Prime - From Behind Behind The Scenes
 PA0002139905          Big Naturals - Big Tits On Britt
 PA0002139337          Big Naturals - Big Titted Bubble Bath
 PA0002138427          RK Prime - A Public Display Of Indecency
 PA0002137955          RK Prime - Ready Player Cum Xxx Parody
 PA0002137725          RK Prime - Your Day With Kimmy Granger
 PA0002129718          RK Prime - Bone On The Fourth Of July
 PA0002129070          RK Prime - Pussy Hunting At The Beach
 PA0002129038          MOFOS Lab - Rich Couple's BDSM Fetish
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 PA0002128515          Brazzers Exxtra - Dripping The Ball
 PA0002128382          Brazzers Exxtra - The Mad Dr. Deville
 PA0002128117          Milf Hunter - My Neighbor Is A Squirting Nympho
 PA0002127192          Stranded Teens - Hideaway Sex to Avoid the Ex
 PA0002126835          Mommy Got Boobs - Mommy's Got Some Bazookas
 PA0002126833          Brazzers Exxtra - ZZ Motel: Dicking The Drifter
 PA0002126812          MOFOS Lab - Cheating Wife Gets Punished
 PA0002126796          Dare Dorm - Dorm Birthday Surprise Party
 PA0002126787          Stranded Teens - Side Of The Road Slut
 PA0002126785          Public Pickups - Fucking The New Girl In Town
 PA0002126564          Mofos B Sides - Ebony Chick Gets A Sneaky Dick
 PA0002126557          Brazzers Exxtra - Lela Pays Her Dues
 PA0002126553          Brazzers Exxtra - Making A Mess On The Maid
 PA0002126542          Brazzers Exxtra - Fix Your Fucking Marriage
 PA0002126362          Brazzers Exxtra - Wedding Planning Pt. 2
 PA0002126357          Brazzers Exxtra - Wedding Planning Pt. 1
 PA0002126328          Pervs On Patrol - The Icing on the Cock
 PA0002126262          Brazzers Exxtra - Mrs. Shea's Room Service
 PA0002125454          Big Wet Butts - Big Wet Bridal Butt
 PA0002125452          Big Tits at Work - Foot Clerk At Work
 PA0002125451          Brazzers Exxtra - Brandi's Boot Camp
 PA0002122304          Mofos B Sides - Tanned And Stretched Out
 PA0002122288          Public Pickups - Italian Blonde Loves Public Sex
 PA0002122206          Real Wife Stories - Showering His Wife With Attention
 PA0002122131          Brazzers Exxtra - Fucking Her Uncanny Valley
 PA0002121522          Brazzers Exxtra - Nailing Like It's On Sale
 PA0002121473          MOFOS Lab - Alina's Acro-Yoga Sex
 PA0002121466          Dirty Masseur - A Treat For Her Feet
 PA0002120223          Public Pickups - Teen Gives Ass For Cash
 PA0002120216          Brazzers Exxtra - Tell Me When It's Over!
 PA0002119898          Brazzers Exxtra - Cucked For Historical Accuracy
 PA0002119892          Sneaky Sex - Sneaky Piano Slut
 PA0002119875          Public Pickups - Brunette Babeâ€™s Public Fuck
 PA0002119405          Stranded Teens - Whisking Abella Away From Danger
 PA0002119400          Public Pickups - Wannabe Dancer Fucked In Public
 PA0002119393          Brazzers Exxtra - Up and Cummer
 PA0002119390          Brazzers Exxtra - 1 800 Phone Sex: Line 12
 PA0002119347          Mofos B Sides - MILF Thinks Sheâ€™s Sneaky
 PA0002118986          Brazzers Exxtra - Bloodthirsty Biker Babes: Part 3
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 PA0002118970          Brazzers Exxtra - 1 800 Phone Sex: Line 9
 PA0002118967          Brazzers Exxtra - 1 800 Phone Sex: Line 11
 PA0002118965          Brazzers Exxtra - 1 800 Phone Sex: Line 10
 PA0002118494          MOFOS Lab - Welcome to My Dungeon
 PA0002118481          Brazzers Exxtra - Lined Up And Laid Out
 PA0002118475          Brazzers Exxtra - Fuck the Bourgeois
 PA0002118449          Brazzers Exxtra - You've Changed Part 2
 PA0002118087          RK Prime - A Squirt In The Streets
 PA0002117433          Brazzers Exxtra - String Me Along
 PA0002117422          Brazzers Exxtra - Something Borrowed Something Blew
 PA0002117412          Stranded Teens - Smokin' Hot Charity on a Rooftop
 PA0002117404          Brazzers Exxtra - Sacrifice My Ass
 PA0002117392          Mike's Apartment - Paola Gets More Than A Tour
 PA0002117365          GF Revenge - Miranda And Kirby Love Sucking
 PA0002117346          Milf Hunter - Milf Railed At The Station
 PA0002117330          Mofos B Sides - Living Room Suck & Fuck
 PA0002117323          Brazzers Exxtra - I Like To Be Natural
 PA0002117269          Big Naturals - Big Boob Problems
 PA0002115925          Brazzers Exxtra - Tight As Tape
 PA0002115780          MOFOS Lab - Athena's Risque Photoshoot
 PA0002115776          Brazzers Exxtra - Going In Blind
                       Pervs On Patrol - Backyard Camping for Hottie on
 PA0002115699          House Arrest
 PA0002115691          Mofos B Sides - Hotel Room Booty Call
 PA0002115679          Mofos B Sides - Abby Loves Seamen In Her Mouth
 PA0002115589          RK Prime - Omg Its Cinco De Mayo
 PA0002115437          Stranded Teens - Hitchhiker Gives Blowjob In Car
 PA0002115427          Brazzers Exxtra - Brand New Bimbo
 PA0002115415          Brazzers Exxtra - Baby Batter Cakes
 PA0002114933          Brazzers Exxtra - 2017: A Look Back
 PA0002114374          Brazzers Exxtra - The Size Queen
 PA0002114368          Brazzers Exxtra - That Warm And Fuzzy Feeling
 PA0002114355          RK Prime - Spring Break Night Club 3
 PA0002114354          RK Prime - Spring Break Night Club 2
 PA0002114353          RK Prime - Spring Break House Party 3
 PA0002114352          RK Prime - Spring Break Beach House Party 2
 PA0002114330          Mike's Apartment - Paying Rent With A Sex Tape
 PA0002114319          Pure 18 - My Piano Teacher Is A Pervert
 PA0002114317          Moms Bang Teens - Ms Fox Busts The Teens
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 PA0002114313          Brazzers Exxtra - Lela Commissions A Cock
 PA0002113995          Public Pickups - Blonde Filled With Customer Service
 PA0002113992          Big Naturals - Big Natural Exercise Boobs
 PA0002112859          Round and Brown - Round And Brownies
 PA0002112848          Brazzers Exxtra - Monique's Wicked Web
 PA0002112841          Brazzers Exxtra - I Dream Of Gina
 PA0002112765          Mofos B Sides - First Time Anal Fun
 PA0002112761          MOFOS Lab - Hurricane Adriana Floods Basement
                       Lets Try Anal - Would Your Wife Do This? Bailey's
 PA0002112757          First Anal
 PA0002112753          Mofos B Sides - Threesome Vlog With Step Bro
 PA0002112746          Public Pickups - Nerdy Cutie Straddles Huge Cock
 PA0002112737          Mofos B Sides - Sexy Latina Quick Hookup
 PA0002111562          Brazzers Exxtra - League of Pornstars: A XXX Parody
 PA0002111559          MOFOS Lab - Serenading Ukulele Lay
 PA0002111348          Public Pickups - Ukrainian Babe Loves Public Sex
 PA0002111345          Real Wife Stories - The Wife-I Password
 PA0002111344          Brazzers Exxtra - Ramming The Reporter
 PA0002110675          Public Pickups - Armenian Babe Gets Cum in Her Eye
                       Stranded Teens - Stealing from the Easter Bunny's
 PA0002110669          Basket
 PA0002110668          Mofos B Sides - Tanned GF Fucks Around The House
 PA0002109909          Brazzers Exxtra - The Foreman Is A Whore, Man
 PA0002109878          Mofos B Sides - Shy Cutie Joins Camgirl Threesome
 PA0002109877          Public Pickups - Shopping For A Big Dick
 PA0002109872          RK Prime - Putting Her Thickness On Display
 PA0002109787          Milf Hunter - Hot Milf At The Gym
 PA0002109771          MOFOS Lab - Gina Valentina BDSM Fantasy
 PA0002109691          Public Pickups - Blonde Pussy Fucked In Public
 PA0002109683          Stranded Teens - Blonde Teen Fucks For Ride
 PA0002109676          Brazzers Exxtra - Plump As A Peach
 PA0002109636          RK Prime - Spring Break Beach House Party
 PA0002109568          Stranded Teens - Cuckhold Watches Busty Babe Fuck
 PA0002109564          Public Pickups - Fitness Babe Loves Public Sex
 PA0002109562          Brazzers Exxtra - Chock-Full Of Cock
 PA0002108316          Mofos B Sides - Facial For Hot Tub Hottie
 PA0002108301          Brazzers Exxtra - What Wifey Wants
 PA0002108294          Brazzers Exxtra - Home Sweet Hoe
 PA0002108256          Public Pickups - Anal By The Parking Lot
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 PA0002108157          ZZ Series - Xander's World Tour - Ep.2
 PA0002108153          ZZ Series - Xander's World Tour - Ep.4
 PA0002108133          ZZ Series - Xander's World Tour - Ep.3
 PA0002106811          Mommy Got Boobs - Mommy Needs A MANicure
 PA0002106203          Euro Sex Parties - Eastern Euro Anal Orgy
 PA0002106195          MOFOS Lab - Blonde GF Loves Big Dick
 PA0002105189          Dare Dorm - The Sluts In The Hall
 PA0002105141          Brazzers Exxtra - My Slutty Valentine: Part 2
 PA0002105140          Brazzers Exxtra - My Slutty Valentine: Part 1
 PA0002105138          GF Revenge - My Gf Seduces Her Roommate
 PA0002105068          Lets Try Anal - First Time Anal For Tara Ashley
 PA0002105026          Brazzers Exxtra - Catch Of The Day
 PA0002105008          MOFOS Lab - BDSM Babe Abella Danger
 PA0002105002          Milf Hunter - A Big Tip For Andy
 PA0002104683          Mofos B Sides - Sneaky Apartment Pussy Pounding
 PA0002104677          Public Pickups - Blonde Nerd Loves Public Fucking
 PA0002104673          Stranded Teens - Pale Cutie Tastes Married Cock
 PA0002104655          ZZ Series - Xander's World Tour - Ep.1
 PA0002104003          GF Revenge - Two Sluts Pitch A Tent
 PA0002103993          Stranded Teens - Stranded Latina Outdoor Fucking
 PA0002103986          Round and Brown - Round Brown And Soapy Wet
 PA0002103975          Mofos B Sides - One Night Stand Dildo Play
 PA0002103966          Public Pickups - Italian Cutie Rides Dick At School
 PA0002103806          Mike's Apartment - While My Guitar Gently Creeps
 PA0002103603          Brazzers Exxtra - How To Bake A Creampie
 PA0002103600          Pervs On Patrol - Hottie Cheats On The Phone With BF
 PA0002103580          Mofos B Sides - Gamer Babe Plays With Cock
 PA0002103578          MOFOS Lab - GF Fucks Around The House
 PA0002102351          Brazzers Exxtra - A-Mature Magic
 PA0002102346          Brazzers Exxtra - 1 800 Phone Sex: Line 6
 PA0002102345          Brazzers Exxtra - 1 800 Phone Sex: Line 5
 PA0002102317          Milf Hunter - Milf From Above
 PA0002102127          Public Pickups - Tiny Redhead Takes Dick In Park
 PA0002100944          Brazzers Exxtra - 1 800 Phone Sex: Line 8
 PA0002100942          Brazzers Exxtra - 1 800 Phone Sex: Line 7
 PA0002100579          MOFOS Lab - Blindfolded, Tied Up, And Fucked
 PA0002100563          Pure 18 - Rich Girl Learns A Lesson
 PA0002100562          RK Prime - Working Out With The Kings
 PA0002100558          Sneaky Sex - Fly Me To The Poon
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 PA0002100154          Brazzers Exxtra - Pussy Pat-Down
 PA0002100098          Milf Hunter - In The Garden Of The Milf
 PA0002100074          Dare Dorm - Time To Experiment
 PA0002100046          Public Pickups - Curvy Blonde Rides Dick In Garage
 PA0002099961          Public Pickups - Blonde Rides Dick In Public Park
 PA0002099274          Brazzers Exxtra - Strip Club Surprise
 PA0002098785          Mofos B Sides - Tiny Lacey VS Huge Cock
 PA0002098783          Mofos B Sides - POV With Amirah Adara
 PA0002098780          Mofos B Sides - Russian Girlfriend Coffee Shop Sex
 PA0002098739          Mofos B Sides - Massage Makes Redhead Horny
 PA0002098737          Mofos B Sides - Mariah's Expert Blowjob Technique
 PA0002098730          Mofos B Sides - Jezabel Seduces Her Bf's Bro
 PA0002098715          Mofos B Sides - Georgia Peach Hannah Hays
 PA0002098699          Mofos B Sides - Ebony Bikini Beauty Poolside
 PA0002098680          Mofos B Sides - Chloe Couture in Torn Tights
 PA0002098669          Mofos B Sides - Audrey Royal Sucks and Swallows
 PA0002098499          Stranded Teens - Pussy Creampie for Ashly Anderson
 PA0002098498          Brazzers Exxtra - Smoke Em Out
 PA0002098093          Public Pickups - Teen Loves Public Cock
 PA0002097969          MOFOS Lab - Test 101 - Charity's Girlfriend Xperience
 PA0002097553          Brazzers Exxtra - On The Sidelines, On Her Knees
 PA0002097501          ZZ Series - Die Hardcore: Part 2 (A XXX Parody)
 PA0002097415          Pervs On Patrol - Gagging on the Pool Guy's Cock
 PA0002097170          Brazzers Exxtra - Slipping Between Sisters
 PA0002097156          Latina Sex Tapes - Latina is too Juicy for her Pants
 PA0002097145          Brazzers Exxtra - Fixing For A Fuck
 PA0002097126          ZZ Series - Die Hardcore: Part 1 (A XXX Parody)
 PA0002097107          Lets Try Anal - Anal the Morning After
 PA0002097090          Ebony Sex Tapes - Big Titty Sex Addict
 PA0002096961          Lets Try Anal - Born Again Virgin Anal
 PA0002096846          Sneaky Sex - Sneaky Webcam Slut
 PA0002096680          Public Pickups - Public Handjob Turns Andi On
 PA0002096660          Sneaky Sex - Sneaky At The Movies
 PA0002096571          Public Pickups - Blue Eyed Blonde Public Sex
 PA0002096560          Brazzers Exxtra - The Allure of Azure
 PA0002096550          Brazzers Exxtra - The Trophy Husband
 PA0002096546          Brazzers Exxtra - My Wife's Trainer
 PA0002095767          Pure 18 - The Sluttiest Of Them All
 PA0002095666          Public Pickups - Curvy Glasses Chick Outdoor Sex
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 PA0002095661          Brazzers Exxtra - Whore-O-Scoping
 PA0002095657          Baby Got Boobs - Babysitter Got Boobs
 PA0002095152          Brazzers Exxtra - Stocks and Bonds-age
 PA0002094011          Dare Dorm - Dorm Room Fucksgiving
 PA0002093447          GF Revenge - My Gf Is No Angel
 PA0002093428          Share My BF - MILF Shares Stepdaughter's BF
 PA0002093378          Brazzers Exxtra - Pick and Choose 2
 PA0002093244          GF Revenge - Dirty Sluts In The Tub
 PA0002093205          Latina Sex Tapes - Cheater Gets Make Up Sex
 PA0002093203          Public Pickups - Spanish Asian Amateur's Sloppy BJ
 PA0002093202          Brazzers Exxtra - Playing With Fire
 PA0002093108          Brazzers Exxtra - It Puts the Lotion on the Cock
 PA0002092114          Brazzers Exxtra - Put Her To The Test
 PA0002091739          Brazzers Exxtra - Pick and Choose
 PA0002091097          Brazzers Exxtra - 1 800 Phone Sex: Line 3
 PA0002090687          Brazzers Exxtra - Tasting The Trophy Wife
 PA0002090574          Latina Sex Tapes - Wake up to Sex With Apolonia
 PA0002090083          Stranded Teens - Big Asian Tits In Sexy Costume
 PA0002089563          Cum Fiesta - Jill Cums To The Right Place
 PA0002087338          Lets Try Anal - Anal and Sloppy BJ for Pranking BF
 PA0002087318          Brazzers Exxtra - The Mischievous Maid
 PA0002087214          Brazzers Exxtra - The Siren's Cry
 PA0002086573          Stranded Teens - Roadside Sex With Teen Cutie
 PA0002086545          Milf Hunter - No Picnic For Milf
 PA0002086512          Brazzers Exxtra - In Tents Fucking: Part 2
 PA0002086434          Brazzers Exxtra - Brazzers House 2: Unseen Moments
 PA0002086423          Share My BF - Angry Roommates Share Big Cock
 PA0002086422          Mike's Apartment - Anal Art Of The Deal
 PA0002085940          Mike's Apartment - Never Ask Your Gf To Pay Rent
 PA0002085621          Milf Hunter - New Milf In Town
 PA0002085149          Big Naturals - Moving In On Busty Neighbor
 PA0002085113          Stranded Teens - Horny Asian Turned on by Big Cock
 PA0002085111          Stranded Teens - Hiker Blowjob on a Quad
 PA0002085075          Happy Tugs - Audrey Works For Her Tip
 PA0002085071          Dirty Masseur - A Surprise Stroke And Squirt
 PA0002082290          Brazzers Exxtra - A Goo Fucking
 PA0002082281          Brazzers Exxtra - Tasting The Chef
 PA0002082214          Brazzers Exxtra - The Bang Ring: Part 3
 PA0002082201          ZZ Series - Brazzers House 2: Day 3
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 PA0002082199          Public Pickups - Latina's Big Tits and Plump Lips
 PA0002082127          RK Prime - Little Red Hood Riding Xxx Parody
 PA0002082022          Latina Sex Tapes - Curvy Latina Futbol Babe
 PA0002081995          Lets Try Anal - Deep Anal for Ballet Booty
 PA0002081992          Brazzers Exxtra - What's Your Fantasy?
 PA0002081414          ZZ Series - Brazzers House 2: Day 2
 PA0002081412          Public Pickups - Outdoor Sex With Aidra Fox
 PA0002081212          Brazzers Exxtra - Swipe the Slate Clean: Part Three
 PA0002081198          Brazzers Exxtra - Swipe the Slate Clean: Part Two
 PA0002081186          Brazzers Exxtra - Off The Rack
 PA0002081181          Brazzers Exxtra - Mystery Tape: A XXX Parody
 PA0002081070          GF Revenge - Girlfriends Just Wanna Have Fun
 PA0002081039          Big Tits Boss - Big Tits Benefits
 PA0002081020          GF Revenge - My Gf Kimber
 PA0002080974          Big Naturals - Big Tits On Her Sis
 PA0002080932          Big Tits Boss - My Busty Boss Sara
 PA0002079768          Dare Dorm - My Gf Likes To Party
 PA0002079605          Brazzers Exxtra - 1 800 Phone Sex: Line 1
 PA0002079507          Brazzers Exxtra - Fucking The Busker
 PA0002079498          Share My BF - Double Dates Share Big Cock
 PA0002079485          ZZ Series - Brazzers House 2: Day 1
 PA0002079478          Ebony Sex Tapes - Audition Turns Into Sex Tape
 PA0002079477          Mofos B Sides - Anal Lesson From Tutor in Stockings
 PA0002079326          Mike's Apartment - Spending Time With Ms Miller
 PA0002079305          Happy Tugs - For A Few Dollars More
 PA0002079249          RK Prime - Big Tip For Pizza Sluts
 PA0002079087          Dirty Masseur - Getting My Hands On A MILF
 PA0002079071          ZZ Series - Queen Of Thrones: Part 3 (A XXX Parody)
 PA0002079055          Brazzers Exxtra - 1 800 Phone Sex: Line 2
 PA0002079041          Public Pickups - All Natural Beauty Keeps Panties On
 PA0002078984          Brazzers Exxtra - 1 800 Phone Sex: Line 4
 PA0002078979          Brazzers Exxtra - Cops and Knobbers
 PA0002078969          Brazzers Exxtra - Ice Cream, You Cream
 PA0002078950          Stranded Teens - Free Blowjob for a Ride Home
 PA0002078931          Brazzers Exxtra - Deeper In The Housekeeper
 PA0002078782          Lets Try Anal - Leggy Wife Spices it up With Anal
 PA0002078481          Public Pickups - Public Sex With Jade Amber
 PA0002077699          Big Naturals - Big Tits Maid Service
 PA0002077691          RK Prime - Amirah Cheers For Anal Sex
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 PA0002076973          Latina Sex Tapes - Hot Latina Gives Ice-Cube BJ
 PA0002076321          Big Naturals - Big Tits In Black
 PA0002075676          Milf Hunter - Sexy Dirty Milf
 PA0002075605          Sneaky Sex - Sneaky Salon Sluts
 PA0002075489          Big Naturals - Big Tits On A Boat
 PA0002075450          Monster Curves - Sticking A Pipe In Her Pussy
 PA0002075398          Big Tits Boss - Big Tits On Tiffany
 PA0002075397          Milf Hunter - Getting Dirty With Ms Croft
 PA0002075384          ZZ Series - Queen Of Thrones: Part 2 (A XXX Parody)
 PA0002075286          Monster Curves - Monster Curves Science Xxx Parody
 PA0002075277          Big Tits Boss - Busty Boss Appreciation Day
 PA0002075244          Big Naturals - Boned On The Fourth Of July
 PA0002075243          RK Prime - Public Fun In The Sun
 PA0002074593          Public Pickups - Latina Bounces on Fat Cock
 PA0002074581          Brazzers Exxtra - In The Lap Of Luxury
 PA0002074572          Lets Try Anal - Birthday Gloryhole Anal Surprise
 PA0002074570          ZZ Series - Queen Of Thrones: Part 1 (A XXX Parody)
 PA0002073757          Stranded Teens - Half Asian Cutie Fucks for Ride
 PA0002073748          Brazzers Exxtra - Return Of Ivy
 PA0002072849          Stranded Teens - Sexy Cowgirl Bucked Then Fucked
 PA0002072558          Brazzers Exxtra - Teasing The Teaser
 PA0002072530          Lets Try Anal - Shower Show and Anal by Alex Harper
 PA0002072526          Public Pickups - Roadside Interview Leads to Sex
 PA0002072525          Share My BF - Threesome for Pervy BF Spy
 PA0002072412          Public Pickups - Friendly Blonde Fucks in Public
 PA0002072382          Hot And Mean - Cum Like It's Hot
 PA0002072365          Brazzers Exxtra - A Big Load
 PA0002071634          Ebony Sex Tapes - Messy Facial for Ebony Spinner
 PA0002070887          Brazzers Exxtra - A Daring First Date
 PA0002069612          Public Pickups - Fun-loving Model Fucks in Public
 PA0002058369          Latina Sex Tapes - Bubble Butt Latina Fucked
 PA0002058367          Dirty Masseur - The Perks Of Gettin' Jerked
 PA0002057462          Public Pickups - Saucy Blonde Fucks for Money
 PA0002057443          Hot And Mean - Freshen Up And Hookup
 PA0002057404          Public Pickups - Busty Innocent Fucks for Cash
 PA0002057395          Brazzers Exxtra - When Lana's Home Alone...
 PA0002057385          Lets Try Anal - Butt Plug Collection Inspires Anal
 PA0002057383          Mofos B Sides - Piledriver for Student Hottie
 PA0002057282          Brazzers Exxtra - I Can Do Anal Though...
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 PA0002057266          Brazzers Exxtra - Eating Her Peach
 PA0002057213          Brazzers Exxtra - Bloodthirsty Biker Babes: Part 2
 PA0002057204          Dirty Masseur - Couple Cums For A Massage
 PA0002056578          Brazzers Exxtra - The House Christening
 PA0002056567          Real Wife Stories - My Boss And My Wife
 PA0002056564          Stranded Teens - Spinner Sucks Cock for Fame
 PA0002056540          Brazzers Exxtra - The Blind Date
 PA0002056489          Latina Sex Tapes - Latina Beauty Delights with BJ
 PA0002056484          Public Pickups - Miami Latina Goes Straight for Cash
 PA0002053403          Lets Try Anal - Anal Sex for Hot Blonde Stepsister
 PA0002050919          Latina Sex Tapes - Sexting Latina Makes House Call
 PA0002050915          Public Pickups - Cute British Chick Needs Cash
 PA0002050840          Public Pickups - Post-Workout Treat for Gym Babe
 PA0002050838          Ebony Sex Tapes - Ebony Muse Helps Make Art
 PA0002050835          Brazzers Exxtra - Affair On The Air
 PA0002050831          Real Wife Stories - Caring Wife Craves Cum
 PA0002050826          ZZ Series - Power Bangers: A XXX Parody Part 5
 PA0002050793          Brazzers Exxtra - Pool Club Newcummer
 PA0002031108          Real Wife Stories - Double Timing Wife 2
 PA0002031101          Brazzers Exxtra - If The Dick Fits: Part 1
 PA0002030966          Lets Try Anal - Preserve Your Virginity With Anal
 PA0002030933          Mofos B Sides - Cum Shower for Horny Mannequin
 PA0002030930          Public Pickups - Pilates Instructor Fucks in Alley
 PA0002030880          Stranded Teens - Lost Spinner Fucks in Truck Bed
 PA0002015293          Pornstar Vote - Jessa Rhodes's Pussy Gets a Package
 PA0001999854          Public Pickups - Innocent Student Makes Amateur Porn
 PA0001991349          ZZ Series - Lost In Brazzers Episode 4
 PA0001990237          ZZ Series - Lost In Brazzers Episode 3
 PA0001978587          Doctor Adventures - Wet & Naughty Sponge Bath Party
 PA0001974431          Doctor Adventures - Nasty Checkup with Dr. Darby
 PA0001965652          Stranded Teens - Kimmy Gives Good Road Head
 PA0001965643          Brazzers Exxtra - A Photogenic Fucking
 PA0001965628          Doctor Adventures - Doctor Feet Fucker
 PA0001965610          Brazzers Exxtra - Pole Skills and Holes Filled
 PA0001965592          Real Wife Stories - Horny Wife Wants A Stranger
                       Doctor Adventures - ZZ Hospital - Ri-Dick-ulous
 PA0001965570          Behavior
 PA0001965210          Public Pickups - Freckled Village Babe Gets Banged
 PA0001964868          Latina Sex Tapes - Latina Streaks in Construction Site
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 PA0001964863          Mofos B Sides - Giggly Blonde's Amateur Sextape
 PA0001946104          Lets Try Anal - British Babe's First Try at Anal
 PA0001942764          Big Wet Butts - My Big Butt Maid
 PA0001942632          ZZ Series - Vice City Vacation: Part Three
 PA0001942111          ZZ Series - Vice City Vacation: Part Two
 PA0001941490          Stranded Teens - Stranded Frenchie Fucks in the Car
 PA0001941485          Brazzers Exxtra - The Cocksucking Cop Sucker
 PA0001941323          Doctor Adventures - Teaching Her How To Cum
 PA0001941313          Mofos B Sides - Redhead Fucks by the Pool
 PA0001941310          Public Pickups - Anna Works for That Thick Wad
 PA0001941082          ZZ Series - Vice City Vacation: Part One
 PA0001940771          Drone Hunter - Spying on an Outdoor Public Fuck
 PA0001940759          Real Wife Stories - Double Timing Wife: Part 3
 PA0001940756          Brazzers Exxtra - A Rough Pro Bono
 PA0001940755          ZZ Series - Brazzers House Episode Five Bonus Part 1
 PA0001940752          ZZ Series - Brazzers House Episode Five Bonus Part 2
 PA0001940692          Public Pickups - Sexy Tourist Fucks in the Bathroom
 PA0001940677          Mofos B Sides - Blonde Amateur's Sex Tape
 PA0001940631          Public Pickups - Spanish Student Down to Fuck
 PA0001940576          ZZ Series - Brazzers House Episode Four Bonus
 PA0001940563          Doctor Adventures - How To Please A Sleaze
 PA0001940560          Lets Try Anal - French Girl's Anal Fantasy
 PA0001940001          Stranded Teens - Stranded Slut Sucks Dick
 PA0001939581          Stranded Teens - Brooke Takes a Free Ride
 PA0001939537          Hot And Mean - Eva and Alektra Get Nasty
 PA0001938838          Mofos B Sides - GF Can't Wait for Cock
 PA0001938837          Public Pickups - Canadian Babe Sucks Cock for Cash
 PA0001938826          ZZ Series - Brazzers House Episode Three Bonus
 PA0001938174          Lets Try Anal - Booty Workout: Squats and Anal Sex!
 PA0001937560          Latina Sex Tapes - Cumming on Latina Teen's Glasses
 PA0001937516          Doctor Adventures - The Cock In The Doc
 PA0001937465          Brazzers Exxtra - Taste Marsha's Treats
 PA0001937463          Public Pickups - Double the Cum for Blonde Babe
 PA0001937460          Brazzers Exxtra - The Blowjob Business
 PA0001937459          Busted Babysitters - Horny Couple Share Teen Pussy
 PA0001936537          Stranded Teens - Dirty Gal Fucks in the Backseat
 PA0001936425          Drone Hunter - Fuckin' at the Fishin' Hole
 PA0001936407          Doctor Adventures - This Nurse Is a Hooker
 PA0001936403          Public Pickups - Classy Chick Gets Down and Dirty
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 PA0001936402          Busted Babysitters - Busty MILF Teaches Tight Teen
 PA0001936397          Brazzers Exxtra - Taught To Talk Dirty
 PA0001936010          Shes Gonna Squirt - Wish Upon A Squirt
 PA0001935977          Lets Try Anal - St. Patick's Day Anal
                       Doctor Adventures - Night Shift's Naughtiest Nurse Part
 PA0001935723          Two
 PA0001935690          Big Wet Butts - The Return of Bella's Big Wet Booty
 PA0001935665          Public Pickups - Brunette Caprice Sucks Like a Pro
 PA0001935089          Lets Try Anal - Russian Babe Gapes During First Anal
 PA0001934839          Busted Babysitters - Babysitter is Ready to Fuck
 PA0001934838          Public Pickups - Hungarian Girl Strips for Cash
 PA0001933939          Brazzers Exxtra - Modern Museum of Fine Ass
 PA0001933933          Brazzers Exxtra - Candyâ€™s Cam Fun
 PA0001933896          Brazzers Exxtra - How Rough Does She Want It?
 PA0001933873          Stranded Teens - Give Me a Ride, I'll Give You One Too
 PA0001933870          Stranded Teens - Hitch-Hiking Ho Wants the Dick
 PA0001933869          Real Slut Party - After Hours Sex Party Foursome
 PA0001933867          Stranded Teens - Taking a Ride With Two Swingers
 PA0001933866          Stranded Teens - Going the Distance with Kota
 PA0001933864          Stranded Teens - Pulling Over to Pound Pussy
 PA0001933863          Stranded Teens - Let My Tits Do the Talking
                       Stranded Teens - Stranded Redhead Teen Wants That
 PA0001933862          Dick
 PA0001933859          Stranded Teens - Road Head From a Stranded Latina
 PA0001933650          Pervs On Patrol - Perving Out on His Neighbor
 PA0001933637          Big Wet Butts - Infiltrating A Pornstar's Wet Anus
 PA0001933612          Busted Babysitters - Horny Teen Caught in the Act
 PA0001933588          Public Pickups - Euro Girl Gets Picked Up
                       Busted Babysitters - Swinger Couple Seduces the
 PA0001933587          Babysitter
                       Busted Babysitters - From Naked Selfies to a
 PA0001933586          Threesome!
                       Busted Babysitters - Webcamming Babysitter Learns to
 PA0001933583          Fuck
 PA0001933576          Doctor Adventures - Doc Takes On The Biggest Cock
 PA0001933573          Busted Babysitters - Milf and Babysitter Share a Cock
 PA0001933219          Brazzers Exxtra - A Love Hate Fuck Relationship
 PA0001933218          Stranded Teens - This Policewoman Needs Cock Too
 PA0001933190          Real Slut Party - Wild Fuck Party With Two Amateurs
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                       Doctor Adventures - Night Shift's Naughtiest Nurse Part
 PA0001932610          One
 PA0001932591          Public Pickups - Topless DJ Puts on a Private Show
 PA0001932093          Stranded Teens - Orgy with Three Sexy Hitchhikers
 PA0001932090          Brazzers Exxtra - The Butt Next Door
 PA0001932010          Public Pickups - Spanish Girl Needs Some Cash
 PA0001932003          Mofos B Sides - Babe Gives Blowjob on the Beach
 PA0001931922          Brazzers Exxtra - Two Bangz vs Nancy
 PA0001931905          Doctor Adventures - House Call On My Balls
 PA0001930584          Public Pickups - Riding Dick in the Changing Room
 PA0001930583          Mofos B Sides - Camgirl Brandi Puts on a Show
 PA0001930534          Lets Try Anal - Tight Ass on Anal Ava
 PA0001930524          Stranded Teens - Red Head Hitchhiker Loves the Cock
 PA0001930520          Doctor Adventures - The Great Doctor Part Two
 PA0001930516          Brazzers Exxtra - The Perfect Maid
 PA0001930493          Lets Try Anal - Anal for the Holidays
 PA0001930416          Hot And Mean - Hot Cop Mean Cop
 PA0001930329          Mofos B Sides - Big Cock for Moretta Cox
 PA0001930326          Public Pickups - Euro Babe Banging for Bucks
 PA0001930304          Real Wife Stories - Cheating Wife Loves Black Cock
 PA0001929376          Doctor Adventures - The Great Doctor Part One
 PA0001928605          Mofos B Sides - Calling in Professional Pussy
 PA0001928604          Public Pickups - Blonde Amateur Fucks in Stockings
 PA0001928314          Mofos B Sides - Athletic Amateur Sucks and Fucks
 PA0001927886          Drone Hunter - Fucking Raven on the Roof
 PA0001927309          Public Pickups - Russian Nurse Public Sex
 PA0001927292          Stranded Teens - Two Dicks for Stranded Teen
 PA0001927284          Big Wet Butts - Young Big Butt Anal
 PA0001927269          Brazzers Exxtra - A Warm Place to Stay Tonight
 PA0001927097          Latina Sex Tapes - Cheating Latina Works the Pole
 PA0001927089          Brazzers Exxtra - Monique's Cumshot Countdown
 PA0001926097          Big Wet Butts - Prison Sluts With Big Butts
 PA0001925967          Latina Sex Tapes - Spanish Babe's Hot Sex Tape
 PA0001925892          Stranded Teens - Blonde Bangs In the Back-Seat
                       Brazzers Exxtra - Cumming Home For Christmas! Part
 PA0001925886          One
 PA0001925885          Brazzers Exxtra - Operation Ho Ho Ho
                       Brazzers Exxtra - Cumming Home For Christmas! Part
 PA0001925884          Two
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 PA0001925872          Brazzers Exxtra - Fast Times Fantasy
 PA0001925672          Public Pickups - Hungarian Babe Is Down to Fuck
 PA0001925517          Lets Try Anal - British Girl's First Anal Sex
 PA0001925344          Brazzers Exxtra - Last Stop , Titfuck Road
 PA0001925317          Brazzers Exxtra - Comply With This Guy
                       Brazzers Exxtra - I Hope You Brought Enough for
 PA0001925314          Everyone!
 PA0001925294          Public Pickups - Russian Babe Is Easy to Bang
 PA0001925190          Brazzers Exxtra - Whenever, Wherever, However
 PA0001924879          Stranded Teens - Cosplaying Chick Sucks Like a Pro
 PA0001924840          Public Pickups - All I Want for Christmas Is Pussy!
 PA0001924649          Doctor Adventures - The Healing Power of Pussy
 PA0001923952          Lets Try Anal - Cutie Loses a Bet For Anal Sex
 PA0001923939          Public Pickups - Busty Babes in Amateur Threesome
 PA0001923937          Latina Sex Tapes - Amateur Latina Cums Hard
 PA0001923897          Brazzers Exxtra - Tour Of London Part One
 PA0001923732          Brazzers Exxtra - Isabella's All-Anal Fuck-Date
 PA0001923721          Drone Hunter - Can't Hide From the Drone
 PA0001923710          Baby Got Boobs - Big Oily Boobs A-bouncing!
 PA0001923709          Doctor Adventures - Cumming Out of a Coma
 PA0001923579          Brazzers Exxtra - Backyard Butt Sex
 PA0001923278          Stranded Teens - Southern Teen Fucks in the Car
 PA0001923266          Lets Try Anal - Petite Cutie's Anal Sex Tape
                       Doctor Adventures - Show The Doc How You Suck
 PA0001923243          Cock
 PA0001923216          Pervs On Patrol - Putting on a Show for a Voyeur
 PA0001923206          Real Wife Stories - Care to Fuck My Wife?
 PA0001922961          Stranded Teens - Anal With a Long Leg Hottie
 PA0001922959          Public Pickups - Lilia's Outdoor Public Sex
 PA0001922235          Lets Try Anal - Juicy Butt GF Tries Anal
 PA0001922078          Dirty Masseur - Massaging Her Best Friend's Husband
 PA0001922073          Brazzers Exxtra - Big News On The Boob Tube
                       Public Pickups - Amateur Schoolgirl Knows How To
 PA0001921455          Suck
 PA0001921281          Lets Try Anal - Anal for that Soapy Wet Ass
 PA0001921030          Brazzers Exxtra - The Professional Touch
 PA0001919741          Public Pickups - Amateur Cowgirl Fucks For Cash
 PA0001919715          Latina Sex Tapes - Best Friend Films Amateur Sex Tape
 PA0001919701          ZZ Series - American Whore Story Part Five
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 PA0001919685          Lets Try Anal - Amateur Babe Tries Anal Sex
 PA0001919679          Stranded Teens - Blonde Gets Nailed on Camera
 PA0001919235          Latina Sex Tapes - Latina Fools Around on Film
 PA0001918791          ZZ Series - American Whore Story Part Three
 PA0001918719          Public Pickups - Amateur Slut Fucks for Cash
 PA0001918708          Real Wife Stories - Double Timing Wife: Part 2
 PA0001918707          ZZ Series - American Whore Story Part Four
 PA0001918704          Stranded Teens - Off-Duty Lifeguard Gets Rescued
 PA0001918650          Moms in control - Shagging In The Shower
 PA0001918601          Moms in control - My Stepmom the Control Freak
 PA0001917741          Mofos B Sides - Bad Girls Caught Stealing
 PA0001917734          Big Tits at School - Big Tits in the Field
 PA0001917470          ZZ Series - American Whore Story Part Two
 PA0001917426          Stranded Teens - Roadside Sex With Aerobics Instructor
 PA0001917328          Public Pickups - Recruiting a Sexy Euro Girl
 PA0001917303          Hot And Mean - Ava and the Slutty Schoolgirls
 PA0001917263          ZZ Series - American Whore Story Part One
 PA0001917227          Stranded Teens - Stranded at the Bus Stop
 PA0001917222          Latina Sex Tapes - Colombian Amateur's Sex Tape
 PA0001917217          Mofos B Sides - Teen Whore's Porn Audition Tape
 PA0001916681          Lets Try Anal - Truth or Dare Anal Sex
 PA0001916679          Baby Got Boobs - Romeo and Juliet's Boobs
 PA0001916673          Public Pickups - Big Titted Waitress Fucks for Money
 PA0001916565          Doctor Adventures - Affair With A Doctor
 PA0001916035          Public Pickups - Hungarian Amateur Sells Her Pussy
 PA0001915994          Stranded Teens - Stewardess Gives Sloppy Road Head
                       Dirty Masseur - She Wanted a Chick Instead She Got
 PA0001915691          Dick
 PA0001915407          Public Pickups - Euro Babe Works the Cock
 PA0001915400          Doctor Adventures - Pervy Deeds Done Dirt Cheap
 PA0001914839          Public Pickups - Festival Chick Takes the Dick
 PA0001914829          Doctor Adventures - Kayla Wants Her Doctor's Goo
 PA0001914817          Dirty Masseur - How to Stuff a Bird
 PA0001914816          Brazzers Exxtra - Spanking Some Sense Into Her
 PA0001914544          Lets Try Anal - Teen Massage and Anal Creampie
                       Brazzers Exxtra - Fucking on the Open Water: Part
 PA0001914542          Three
                       Pervs On Patrol - Changing Room Teen on Hidden
 PA0001914528          Camera
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 PA0001914408          Latina Sex Tapes - Outdoor Sex With Amateur Latina
 PA0001914404          Doctor Adventures - This Pharmacist Can Fuck Off
 PA0001914192          Dirty Masseur - She Wants More Than a Massage
 PA0001913433          Brazzers Exxtra - Fucking on the Open Water: Part Two
 PA0001913338          Lets Try Anal - Anal Lessons for Celine
 PA0001912375          Doctor Adventures - I'm Horny - Call an Ambulance!
 PA0001912308          Latina Sex Tapes - Latina Gives That Dick a Workout
 PA0001912275          Dirty Masseur - Danny Vs Life: Part Two
 PA0001912268          Real Slut Party - Teens Ride the Party Boat
 PA0001912000          Lets Try Anal - Amateur Girlfriend Loves Anal
 PA0001911997          Big Tits at Work - Are Your Wife's Tits This Big?
 PA0001911995          Brazzers Exxtra - Fucking on the Open Water: Part One
 PA0001911406          Public Pickups - Naked on the Prague Streets
 PA0001911405          Latina Sex Tapes - Rained-Out Campers Film Sex Tape
 PA0001911403          Stranded Teens - British Tart Fucks a Cabbie
 PA0001910566          Doctor Adventures - Inside Nutley's Asylum : Part Three
 PA0001909934          Mofos B Sides - Slutty Newbie Tries Making Porn
 PA0001909928          Mofos B Sides - Amateurs Bang a Porn Legend
 PA0001909920          Stranded Teens - Horny Hitchhikers Put on a Show
 PA0001909835          Brazzers Exxtra - Whats Under The Hood
 PA0001909831          Lets Try Anal - Anal Sex in the Woods
 PA0001909828          Mofos B Sides - Euro Amateur Public Sex
 PA0001909547          Latina Sex Tapes - Public Blowjob from a Sexy Latina
 PA0001909458          Brazzers Exxtra - Sex On Wheels
 PA0001909043          Stranded Teens - Picking Up an Ebony Teen
 PA0001908935          Latina Sex Tapes - Latina Flashes in Public
 PA0001908926          Public Pickups - Horny Girl Fucking in a Factory
 PA0001908899          Doctor Adventures - Study of the Male Gender
 PA0001908716          Mofos B Sides - Private Lessons from a Porn Star
 PA0001908636          Public Pickups - Big Tits Bartender Public Flash
 PA0001908549          Lets Try Anal - Euro Blonde - Hard First Anal
 PA0001908539          Public Pickups - Hairdresser Takes Cash for Anal
 PA0001908512          Big Wet Butts - Big Butt Slut in the Summer Sun
 PA0001908171          Stranded Teens - Ebony Amateur Outdoor Hook-Up
 PA0001907630          Brazzers Exxtra - A little Discipline for Phoenix
 PA0001907410          Big Tits In Uniform - Big Tits in the Bighouse
 PA0001907404          Real Slut Party - Naked Pool Party Chicks
 PA0001907318          Public Pickups - Euro Girl Cheats on Her Boyfriend
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                       Brazzers Exxtra - You Wreck My Car, I Wreck Your
 PA0001907284          Ass
 PA0001907277          Stranded Teens - Russian Teen Gives Great Head
 PA0001907273          Latina Sex Tapes - Teen Latina Hook-Up
 PA0001907111          Public Pickups - Euro Seduced by a Stranger
 PA0001907110          Mofos B Sides - Teen Couple Fucks Porn Star
                       Doctor Adventures - Take One Dick, Call Me In The
 PA0001907097          Morning
 PA0001907030          Lets Try Anal - Tourist Tapes His Anal Exploits
 PA0001906608          Brazzers Exxtra - Lesbians Learn to Love Cock
 PA0001906448          Latina Sex Tapes - Latina Loses Her Wager
 PA0001906433          Lets Try Anal - Girlfriend Tries Anal Sex
 PA0001906432          Brazzers Exxtra - Mom's House, Mom's Rules
 PA0001906387          Brazzers Exxtra - Come On, You Want This
 PA0001906386          Doctor Adventures - Angry Milfs in the E.R.
 PA0001906361          Lets Try Anal - Russian Cutie Gives Anal a Try
 PA0001906248          Pervs On Patrol - Blonde Amateur Spied on by Webcam
 PA0001905165          Public Pickups - Casual Sex with a Hot Czech Girl
 PA0001904816          Brazzers Exxtra - Banging the Boss's Bratty Daughter
 PA0001904807          Latina Sex Tapes - Zoey's Vacation Sex Tape
 PA0001904805          Pervs On Patrol - X-Rated Massage on the Balcony
 PA0001904694          Doctor Adventures - Ditching a Date for Doctor Dick
 PA0001904288          Public Pickups - Fucking on the Pool Table
 PA0001904269          Brazzers Exxtra - Sensual, Sexual Jane
 PA0001904179          Lets Try Anal - Bubble Butt Teen's First Anal
 PA0001904138          Stranded Teens - Hooking Up with a Stranded Teen
 PA0001904093          Dirty Masseur - Dirty Massage Instruction
 PA0001903987          Real Slut Party - Ass Flashing Amateur Sex Party
 PA0001903961          Doctor Adventures - Where There Is Ass, There Is Hope
 PA0001903886          Latina Sex Tapes - Latina Hottie Gets Fucked
 PA0001903883          Stranded Teens - Hot Sex with a Horny Hitchhiker
 PA0001903860          CFNM - Perving Out on the Perv
 PA0001903839          Public Pickups - Seduction of a Czech Amateur
 PA0001903837          Brazzers Exxtra - A Stepmother's Touch
 PA0001903822          Real Slut Party - Pool Party With Two Horny Girls
 PA0001903302          Lets Try Anal - Couple Films Their First Anal
 PA0001903062          Stranded Teens - Stranded Teen Gets Fucked
 PA0001901004          Public Pickups - Pounding the Pizza Delivery Girl
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                       Lets Try Anal - Giving Ashley's Ghetto Booty a Hard
 PA0001901002          Anal Fuck
 PA0001900974          Brazzers Exxtra - Ivy's Anal Addiction
                       Stranded Teens - Blonde Cutie Fucks a Complete
 PA0001900146          Stranger In His Car
 PA0001899431          Shes Gonna Squirt - Payback is a Squirt!
 PA0001899428          Pervs On Patrol - Caught on Tape Sucking Cock
                       Latina Sex Tapes - Latina Charlyse Sucks and Fucks
 PA0001898876          Like a Pro
 PA0001898733          Real Slut Party - Fucking Amateurs on the Party Bus
 PA0001898732          Public Pickups - Receptionist Goes Back to Get Fucked
 PA0001897959          Lets Try Anal - Isabella's First Anal Fuck
 PA0001897486          CFNM - Caught at the Peephole
 PA0001897471          Public Pickups - Going Deep In The Ring!
 PA0001897359          Hot And Mean - Hot And Oily
 PA0001895744          Lets Try Anal - First Time Anal Pro!
 PA0001895742          Real Wife Stories - Banging the Boss's Wife
 PA0001895135          Real Wife Stories - Real Ex-Wives Of Beverly Hills
 PA0001895012          Public Pickups - The Price of Good Pussy
 PA0001894043          Stranded Teens - Tangling Tongues with the Hitchhiker
 PA0001894042          Lets Try Anal - Kelly's Filthy First Anal
 PA0001894031          Public Pickups - Closed for Business, Open for Pleasure
                       Stranded Teens - Hot Blonde Teen Hitchhiker Picked up
 PA0001894029          and...
                       Teens Like It Big - Shae Summers Wants It In Her, Big
 PA0001892673          Time
 PA0001936706          Drone Hunter - Brunette Bangs the Drone-Hunter!
                       Stranded Teens - Stranded Teen Takes a Ride... On a Big
 PA0001897368          Cock
 PA0001897307          Latina Sex Tapes - Latina Loses a Bet, Loses Her Shorts
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                    Exhibit B
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                                   EXHIBIT B
                                   1,438 Links
 Infringing URL
 https://goodporn.to/videos/14479/brazzers-exxtra-yoga-freaks-episode-four-05-
 23-2016/
 https://goodporn.to/videos/15392/brazzers-exxtra-swipe-the-slate-clean-part-one-
 08-22-2017/
 https://goodporn.to/videos/15405/brazzers-exxtra-the-daily-special-08-20-2017/
 https://goodporn.to/videos/6724/mofos-b-sides-anniversary-sex-on-the-couch-
 08-25-2017/
 https://goodporn.to/videos/6631/ebony-sex-tapes-ebony-gf-s-pre-party-
 pounding-05-08-2017/
 https://goodporn.to/videos/6635/stranded-teens-ebony-raver-gets-freaky-in-field-
 05-13-2017/
 https://goodporn.to/videos/6636/pervs-on-patrol-big-tit-babe-twerks-on-
 trampoline-05-12-2017/
 https://goodporn.to/videos/6641/public-pickups-smoking-blonde-flashes-for-fun-
 05-17-2017/
 https://goodporn.to/videos/15202/zz-series-power-bangers-a-xxx-parody-part-4-
 05-12-2017/
 https://goodporn.to/videos/15113/dirty-masseur-i-d-rather-be-in-cali-03-29-
 2017/
 https://goodporn.to/videos/15109/moms-in-control-sex-starved-soccer-moms-03-
 27-2017/
 https://goodporn.to/videos/15103/real-wife-stories-my-boss-wants-my-wife-03-
 26-2017/
 https://goodporn.to/videos/6598/latina-sex-tapes-sexy-latina-showered-in-cum-
 04-03-2017/
 https://goodporn.to/videos/6602/public-pickups-babe-fucks-in-bathroom-for-
 tattoo-04-05-2017/
 https://goodporn.to/videos/15007/brazzers-exxtra-metal-rear-solid-the-phantom-
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  https://goodporn.to/videos/13192/real-wife-stories-care-to-fuck-my-wife-11-20-
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  https://goodporn.to/videos/5755/stranded-teens-anal-with-a-long-leg-hottie-11-
  21-2014/
  https://goodporn.to/videos/5762/public-pickups-lilia-s-outdoor-public-sex-11-23-
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  https://goodporn.to/videos/5749/lets-try-anal-juicy-butt-gf-tries-anal-11-13-
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  https://goodporn.to/videos/13175/dirty-masseur-massaging-her-best-friend-s-
  husband-11-11-2014/
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  https://goodporn.to/videos/13174/brazzers-exxtra-big-news-on-the-boob-tube-
  11-12-2014/
  https://goodporn.to/videos/5752/public-pickups-amateur-schoolgirl-knows-how-
  to-suck-11-09-2014/
  https://goodporn.to/videos/5740/lets-try-anal-anal-for-that-soapy-wet-ass-11-06-
  2014/
  https://goodporn.to/videos/13166/brazzers-exxtra-the-professional-touch-11-05-
  2014/
  https://goodporn.to/videos/5737/public-pickups-amateur-cowgirl-fucks-for-cash-
  11-02-2014/
  https://goodporn.to/videos/5745/latina-sex-tapes-best-friend-films-amateur-sex-
  tape-11-01-2014/
  https://goodporn.to/videos/13152/zz-series-american-whore-story-part-five-10-
  31-2014/
  https://goodporn.to/videos/5734/lets-try-anal-amateur-babe-tries-anal-sex-10-30-
  2014/
  https://goodporn.to/videos/5736/stranded-teens-blonde-gets-nailed-on-camera-
  10-31-2014/
  https://goodporn.to/videos/5727/latina-sex-tapes-latina-fools-around-on-film-10-
  25-2014/
  https://goodporn.to/videos/13136/zz-series-american-whore-story-part-three-10-
  21-2014/
  https://goodporn.to/videos/5726/public-pickups-amateur-slut-fucks-for-cash-10-
  22-2014/
  https://goodporn.to/videos/13143/real-wife-stories-double-timing-wife-part-2-
  10-24-2014/
  https://goodporn.to/videos/13142/zz-series-american-whore-story-part-four-10-
  24-2014/
  https://goodporn.to/videos/5735/stranded-teens-off-duty-lifeguard-gets-rescued-
  10-24-2014/
  https://goodporn.to/videos/13124/moms-in-control-shagging-in-the-shower-10-
  20-2014/
  https://goodporn.to/videos/13127/moms-in-control-my-stepmom-the-control-
  freak-10-20-2014/
  https://goodporn.to/videos/5719/mofos-b-sides-bad-girls-caught-stealing-10-18-
  2014/
  https://goodporn.to/videos/13126/big-tits-at-school-big-tits-in-the-field-10-20-
  2014/
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  https://goodporn.to/videos/13121/zz-series-american-whore-story-part-two-10-
  17-2014/
  https://goodporn.to/videos/5721/stranded-teens-roadside-sex-with-aerobics-
  instructor-10-17-2014/
  https://goodporn.to/videos/5720/public-pickups-recruiting-a-sexy-euro-girl-10-
  15-2014/
  https://goodporn.to/videos/13115/hot-and-mean-ava-and-the-slutty-schoolgirls-
  10-16-2014/
  https://goodporn.to/videos/13105/zz-series-american-whore-story-part-one-10-
  10-2014/
  https://goodporn.to/videos/5711/stranded-teens-stranded-at-the-bus-stop-10-10-
  2014/
  https://goodporn.to/videos/5715/latina-sex-tapes-colombian-amateur-s-sex-tape-
  10-11-2014/
  https://goodporn.to/videos/5718/mofos-b-sides-teen-whore-s-porn-audition-tape-
  10-13-2014/
  https://goodporn.to/videos/5714/lets-try-anal-truth-or-dare-anal-sex-10-09-2014/
  https://goodporn.to/videos/13100/baby-got-boobs-romeo-and-juliet-s-boobs-10-
  09-2014/
  https://goodporn.to/videos/5722/public-pickups-big-titted-waitress-fucks-for-
  money-10-08-2014/
  https://goodporn.to/videos/13094/doctor-adventures-affair-with-a-doctor-10-05-
  2014/
  https://goodporn.to/videos/5706/public-pickups-hungarian-amateur-sells-her-
  pussy-10-01-2014/
  https://goodporn.to/videos/5707/stranded-teens-stewardess-gives-sloppy-road-
  head-10-03-2014/
  https://goodporn.to/videos/13083/dirty-masseur-she-wanted-a-chick-instead-she-
  got-dick-09-30-2014/
  https://goodporn.to/videos/5699/public-pickups-euro-babe-works-the-cock-09-
  28-2014/
  https://goodporn.to/videos/13081/doctor-adventures-pervy-deeds-done-dirt-
  cheap-09-28-2014/
  https://goodporn.to/videos/5698/public-pickups-festival-chick-takes-the-dick-09-
  21-2014/
  https://goodporn.to/videos/13064/doctor-adventures-kayla-wants-her-doctor-s-
  goo-09-21-2014/
  https://goodporn.to/videos/13068/dirty-masseur-how-to-stuff-a-bird-09-23-2014/
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  https://goodporn.to/videos/13072/brazzers-exxtra-spanking-some-sense-into-her-
  09-23-2014/
  https://goodporn.to/videos/5694/lets-try-anal-teen-massage-and-anal-creampie-
  09-17-2014/
  https://goodporn.to/videos/13059/brazzers-exxtra-fucking-on-the-open-water-
  part-three-09-17-2014/
  https://goodporn.to/videos/5688/pervs-on-patrol-changing-room-teen-on-hidden-
  camera-09-16-2014/
  https://goodporn.to/videos/5690/latina-sex-tapes-outdoor-sex-with-amateur-
  latina-09-13-2014/
  https://goodporn.to/videos/13053/doctor-adventures-this-pharmacist-can-fuck-
  off-09-14-2014/
  https://goodporn.to/videos/13045/dirty-masseur-she-wants-more-than-a-
  massage-09-09-2014/
  https://goodporn.to/videos/13043/brazzers-exxtra-fucking-on-the-open-water-
  part-two-09-10-2014/
  https://goodporn.to/videos/5692/lets-try-anal-anal-lessons-for-celine-09-10-
  2014/
  https://goodporn.to/videos/13039/doctor-adventures-i-m-horny-call-an-
  ambulance-09-07-2014/
  https://goodporn.to/videos/5687/latina-sex-tapes-latina-gives-that-dick-a-
  workout-09-06-2014/
  https://goodporn.to/videos/13033/dirty-masseur-danny-vs-life-part-two-09-05-
  2014/
  https://goodporn.to/videos/5678/real-slut-party-teens-ride-the-party-boat-09-04-
  2014/
  https://goodporn.to/videos/5677/lets-try-anal-amateur-girlfriend-loves-anal-09-
  03-2014/
  https://goodporn.to/videos/13031/big-tits-at-work-are-your-wife-s-tits-this-big-
  09-03-2014/
  https://goodporn.to/videos/13030/brazzers-exxtra-fucking-on-the-open-water-
  part-one-09-03-2014/
  https://goodporn.to/videos/5674/public-pickups-naked-on-the-prague-streets-08-
  31-2014/
  https://goodporn.to/videos/5673/latina-sex-tapes-rained-out-campers-film-sex-
  tape-08-30-2014/
  https://goodporn.to/videos/5679/stranded-teens-british-tart-fucks-a-cabbie-08-
  29-2014/
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  https://goodporn.to/videos/13025/doctor-adventures-inside-nutley-s-asylum-part-
  three-08-31-2014/
  https://goodporn.to/videos/5675/mofos-b-sides-slutty-newbie-tries-making-porn-
  08-25-2014/
  https://goodporn.to/videos/5668/mofos-b-sides-amateurs-bang-a-porn-legend-08-
  24-2014/
  https://goodporn.to/videos/5666/stranded-teens-horny-hitchhikers-put-on-a-
  show-08-22-2014/
  https://goodporn.to/videos/13018/brazzers-exxtra-whats-under-the-hood-08-27-
  2014/
  https://goodporn.to/videos/5670/lets-try-anal-anal-sex-in-the-woods-08-27-2014/
  https://goodporn.to/videos/5671/mofos-b-sides-euro-amateur-public-sex-08-28-
  2014/
  https://goodporn.to/videos/5648/latina-sex-tapes-public-blowjob-from-a-sexy-
  latina-08-02-2014/
  https://goodporn.to/videos/13001/brazzers-exxtra-sex-on-wheels-08-19-2014/
  https://goodporn.to/videos/5657/stranded-teens-picking-up-an-ebony-teen-08-15-
  2014/
  https://goodporn.to/videos/5660/latina-sex-tapes-latina-flashes-in-public-08-16-
  2014/
  https://goodporn.to/videos/5667/public-pickups-horny-girl-fucking-in-a-factory-
  08-17-2014/
  https://goodporn.to/videos/13000/doctor-adventures-study-of-the-male-gender-
  08-17-2014/
  https://goodporn.to/videos/5649/mofos-b-sides-private-lessons-from-a-porn-star-
  08-07-2014/
  https://goodporn.to/videos/5655/public-pickups-big-tits-bartender-public-flash-
  08-10-2014/
  https://goodporn.to/videos/5652/lets-try-anal-euro-blonde-hard-first-anal-08-06-
  2014/
  https://goodporn.to/videos/5646/public-pickups-hairdresser-takes-cash-for-anal-
  08-03-2014/
  https://goodporn.to/videos/12965/big-wet-butts-big-butt-slut-in-the-summer-sun-
  08-03-2014/
  https://goodporn.to/videos/5643/stranded-teens-ebony-amateur-outdoor-hook-
  up-07-31-2014/
  https://goodporn.to/videos/12944/brazzers-exxtra-a-little-discipline-for-phoenix-
  07-23-2014/
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  https://goodporn.to/videos/12956/big-tits-in-uniform-big-tits-in-the-bighouse-07-
  29-2014/
  https://goodporn.to/videos/5638/real-slut-party-naked-pool-party-chicks-07-26-
  2014/
  https://goodporn.to/videos/5641/public-pickups-euro-girl-cheats-on-her-
  boyfriend-07-27-2014/
  https://goodporn.to/videos/12941/brazzers-exxtra-you-wreck-my-car-i-wreck-
  your-ass-07-22-2014/
  https://goodporn.to/videos/5632/stranded-teens-russian-teen-gives-great-head-
  07-17-2014/
  https://goodporn.to/videos/5633/latina-sex-tapes-teen-latina-hook-up-07-22-
  2014/
  https://goodporn.to/videos/5635/public-pickups-euro-seduced-by-a-stranger-07-
  20-2014/
  https://goodporn.to/videos/5634/mofos-b-sides-teen-couple-fucks-porn-star-07-
  19-2014/
  https://goodporn.to/videos/12942/doctor-adventures-take-one-dick-call-me-in-
  the-morning-07-20-2014/
  https://goodporn.to/videos/5630/lets-try-anal-tourist-tapes-his-anal-exploits-07-
  18-2014/
  https://goodporn.to/videos/12934/brazzers-exxtra-lesbians-learn-to-love-cock-
  07-16-2014/
  https://goodporn.to/videos/5621/latina-sex-tapes-latina-loses-her-wager-07-08-
  2014/
  https://goodporn.to/videos/5626/lets-try-anal-girlfriend-tries-anal-sex-07-11-
  2014/
  https://goodporn.to/videos/12910/brazzers-exxtra-mom-s-house-mom-s-rules-07-
  09-2014/
  https://goodporn.to/videos/12920/brazzers-exxtra-come-on-you-want-this-07-06-
  2014/
  https://goodporn.to/videos/12915/doctor-adventures-angry-milfs-in-the-e-r-07-
  06-2014/
  https://goodporn.to/videos/5616/lets-try-anal-russian-cutie-gives-anal-a-try-07-
  04-2014/
  https://goodporn.to/videos/5611/pervs-on-patrol-blonde-amateur-spied-on-by-
  webcam-07-02-2014/
  https://goodporn.to/videos/5615/public-pickups-casual-sex-with-a-hot-czech-
  girl-06-29-2014/
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  https://goodporn.to/videos/12892/brazzers-exxtra-banging-the-boss-s-bratty-
  daughter-06-25-2014/
  https://goodporn.to/videos/5606/latina-sex-tapes-zoey-s-vacation-sex-tape-06-
  24-2014/
  https://goodporn.to/videos/5612/pervs-on-patrol-x-rated-massage-on-the-
  balcony-06-25-2014/
  https://goodporn.to/videos/12888/doctor-adventures-ditching-a-date-for-doctor-
  dick-06-22-2014/
  https://goodporn.to/videos/5605/public-pickups-fucking-on-the-pool-table-06-
  22-2014/
  https://goodporn.to/videos/12865/brazzers-exxtra-sensual-sexual-jane-06-18-
  2014/
  https://goodporn.to/videos/5603/lets-try-anal-bubble-butt-teen-s-first-anal-06-20-
  2014/
  https://goodporn.to/videos/5604/stranded-teens-hooking-up-with-a-stranded-
  teen-06-19-2014/
  https://goodporn.to/videos/12877/dirty-masseur-dirty-massage-instruction-06-
  17-2014/
  https://goodporn.to/videos/5601/real-slut-party-ass-flashing-amateur-sex-party-
  06-14-2014/
  https://goodporn.to/videos/12873/doctor-adventures-where-there-is-ass-there-is-
  hope-06-15-2014/
  https://goodporn.to/videos/5585/latina-sex-tapes-latina-hottie-gets-fucked-06-10-
  2014/
  https://goodporn.to/videos/5596/stranded-teens-hot-sex-with-a-horny-hitchhiker-
  06-12-2014/
  https://goodporn.to/videos/12866/cfnm-perving-out-on-the-perv-06-11-2014/
  https://goodporn.to/videos/5595/public-pickups-seduction-of-a-czech-amateur-
  06-08-2014/
  https://goodporn.to/videos/12860/brazzers-exxtra-a-stepmother-s-touch-06-09-
  2014/
  https://goodporn.to/videos/5508/real-slut-party-pool-party-with-two-horny-girls-
  06-07-2014/
  https://goodporn.to/videos/5583/lets-try-anal-couple-films-their-first-anal-06-06-
  2014/
  https://goodporn.to/videos/5586/stranded-teens-stranded-teen-gets-fucked-06-05-
  2014/
  https://goodporn.to/videos/5582/public-pickups-pounding-the-pizza-delivery-
  girl-06-01-2014/
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  https://goodporn.to/videos/5506/lets-try-anal-giving-ashley-s-ghetto-booty-a-
  hard-anal-fuck-05-30-2014/
  https://goodporn.to/videos/12839/brazzers-exxtra-ivy-s-anal-addiction-05-30-
  2014/
  https://goodporn.to/videos/5578/stranded-teens-blonde-cutie-fucks-a-complete-
  stranger-in-his-car-05-29-2014/
  https://goodporn.to/videos/12834/shes-gonna-squirt-payback-is-a-squirt-05-28-
  2014/
  https://goodporn.to/videos/5579/pervs-on-patrol-caught-on-tape-sucking-cock-
  05-28-2014/
  https://goodporn.to/videos/5592/latina-sex-tapes-latina-charlyse-sucks-and-
  fucks-like-a-pro-05-27-2014/
  https://goodporn.to/videos/5576/real-slut-party-fucking-amateurs-on-the-party-
  bus-05-24-2014/
  https://goodporn.to/videos/5575/public-pickups-receptionist-goes-back-to-get-
  fucked-05-25-2014/
  https://goodporn.to/videos/5591/lets-try-anal-isabella-s-first-anal-fuck-05-23-
  2014/
  https://goodporn.to/videos/12811/cfnm-caught-at-the-peephole-05-21-2014/
  https://goodporn.to/videos/5503/public-pickups-going-deep-in-the-ring-05-18-
  2014/
  https://goodporn.to/videos/12829/hot-and-mean-hot-and-oily-05-22-2014/
  https://goodporn.to/videos/5571/lets-try-anal-first-time-anal-pro-05-16-2014/
  https://goodporn.to/videos/12823/real-wife-stories-banging-the-boss-s-wife-05-
  16-2014/
  https://goodporn.to/videos/12814/real-wife-stories-real-ex-wives-of-beverly-
  hills-05-10-2014/
  https://goodporn.to/videos/5588/public-pickups-the-price-of-good-pussy-05-11-
  2014/
  https://goodporn.to/videos/5558/stranded-teens-tangling-tongues-with-the-
  hitchhiker-05-01-2014/
  https://goodporn.to/videos/5499/lets-try-anal-kelly-s-filthy-first-anal-05-02-
  2014/
  https://goodporn.to/videos/5562/public-pickups-closed-for-business-open-for-
  pleasure-05-04-2014/
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  picked-up-and-05-08-2014/
  https://goodporn.to/videos/12776/teens-like-it-big-shae-summers-wants-it-in-
  her-big-time-05-03-2014/
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  https://goodporn.to/videos/5850/drone-hunter-brunette-bangs-the-drone-hunter-
  02-19-2015/
  https://goodporn.to/videos/5504/stranded-teens-stranded-teen-takes-a-ride-on-a-
  big-cock-05-22-2014/
  https://goodporn.to/videos/5573/latina-sex-tapes-latina-loses-a-bet-loses-her-
  shorts-05-20-2014/
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                    Exhibit D
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8/8/22, 1:35 PM 2:21-cv-08533-MCS-SP                  Document     30-1 Filed 09/09/22 Page 124 of 137 Page ID
                                                          https://mindgeek.zendesk.com/tickets/3356454/print
                                                                    #:603
          #3356454 Notice of Copyright Violation (DMCA Takedown Notice)

    Submitted                       Received via       Requester
    August 5, 2022, 08:28           Mail               Amrit Kumar <amritkum@proton.me>

    Status      Type                       Priority   Group    Assignee
    Open        Task       Due date        -          DMCA     Jason


    Total time spent (sec)           Time spent last update (sec)
    180                              180


    Amrit Kumar Augu t 5, 2022, 08 28
    To DMCA Agent for Pornhub com

    My name is Amrit Kumar, I am the exclusive rights holder for content that is
    appearing on your website. This email is official notification under Section 512(c) of the Digital Millennium
    Copyright Act (“DMCA”), and I seek the immediate removal of the following infringing material from your servers.

    1 The infringing material, which I content belong to me, i the following
    Adult video and gallerie

    2. The original material is located at the following URL(s):
    https://goodporn.to/channels/brazzers/

    3 The infringing material i located at the following URL( )
    http //www brazzer comhttp //www pornhub com/channel /brazzer
    http //www pornhub com/view video php?viewkey ph62ebceb1db6d0
    http //www pornhub com/view video php?viewkey ph62ea86a6724fa
    http //www pornhub com/view video php?viewkey ph62e9325a54f10
    http //www pornhub com/view video php?viewkey ph62e7bacaf0246
    http //www pornhub com/view video php?viewkey ph62e3e7e47b0be
    http //www pornhub com/view video php?
    viewkey ph62e145ba213a4http //www pornhub com/view video php?viewkey ph62dfb5436d5fb
    http //www brazzer com/video/4486231/take control

    4. My contact information is:
    Amrit Kumar
    Address: 601, 6TH FLOOR, RUPA SOLITAIRE, MILLENNIUM
    BUSINESS PARK, MAHAPE, MUMBAI,
    MAHARASHTRA-400710, India
    Email: amritkum@proton.me

    I am providing thi notice in good faith and with rea onable belief that Amrit Kumar’
    right are being infringed Under the penalty of perjury, I certify that the information contained in thi notification i
    both true and accurate
    Thank you,Amrit Kumar

    Jason August 6, 2022, 08:20
    Hello,

    Thank you for contacting us.

    The reported URLs were uploaded by Brazzers, a professional studio as part of our Content Partner Program. In
    this case, we have a good-faith belief that the studio owns or possesses the right to distribute the content.

    We would like to clarify the request before moving forward. Are you claiming ownership of the content or is there
https://mindgeek.zendesk.com/tickets/3356454/print                                                                           1/2
           Case
8/8/22, 1:35 PM 2:21-cv-08533-MCS-SP        Document        30-1 Filed 09/09/22 Page 125 of 137 Page ID
                                                   https://mindgeek.zendesk.com/tickets/3356454/print

    another reason that you are requesting that this content #:604
                                                                be removed? ? If the former, we would appreciate you
    providing us with any documentation to support your ownership claim. Please confirm.

    Kind regards,

    Amrit Kumar August 6, 2022, 11:41
    Hello,

    Full ownership of Brazzers videos, galleries, stories and etc has transferred to me according to a contract that I
    have made with MG Premium LTD.

    I am the sole owner of the contents that appears on Brazzers.com, That profile is showing pictures and videos of
    my contents without my permission. Its infringing my copyright in massive scale. All the contents that being
    posted on pornhub.com/channels/brazzershttps://twitter.com/brazzers is copyrighted and I fully own them.

    This channel is dedicated in showing the content of Brazzers.com, Full right of all contents from Brazzers.com
    has transferred to me and I am sole owner of those contents.

    The original material is located at the following URL(s):http //goodporn to/channel /brazzer /

    Sincerely,Amrit Kumar

                                                     Support Software by Zendesk




https://mindgeek.zendesk.com/tickets/3356454/print                                                                       2/2
Case 2:21-cv-08533-MCS-SP Document 30-1 Filed 09/09/22 Page 126 of 137 Page ID
                                   #:605




                       Exhibit E
     Case 2:21-cv-08533-MCS-SP Document 30-1 Filed 09/09/22 Page 127 of 137 Page ID
                                        #:606




On Sun, Jan 9, 2022 at 7:22 AM <removals@google.com> wrote:

Hello,

We have received a counter notification in response to the DMCA notice you sent us. As described in 17 U.S.C. 512(g),
by this email, we are providing you with a text copy of the counter notification and await your notice (in not more than
10 business days) that you have filed an action seeking a court order to restrain the counter notifier's allegedly
infringing activity. In order to process your complaint, please send us a copy of the action filed or applicable court
order.

If we do not receive such notice from you, we will reinstate the material in question.

We encourage you to review https://library.educause.edu/topics/policy-and-law/digital-millennium-copyright-act-
dmca for more information about the DMCA and the requirements of a counter notice. If you have legal questions
about this, you should consult your own legal counsel.

====================================

Country of residence
Netherlands
Full legal name
Emilie Brunn
Contact email address
Emilie.brunn@protonmail.com
Address
Gewelf 94
                                                           1
    Case 2:21-cv-08533-MCS-SP Document 30-1 Filed 09/09/22 Page 128 of 137 Page ID
                                       #:607
Beuningen, NH, Netherlands, 6641
Phone number
0658371189
URL(s) of the content in question
https://goodporn.to/search/zara-ryan/
https://goodporn.to/tags/amateur/
https://goodporn.to/tags/jmac/
https://goodporn.to/tags/tia-cyrus/
https://goodporn.to/videos/10539/teens-like-it-big-cock-intentions-04-26-2011/
https://goodporn.to/videos/10732/teens-like-it-big-orally-fixated-08-09-2011/
https://goodporn.to/videos/12926/teens-like-it-big-big-dick-vocal-coach-07-12-2014/
https://goodporn.to/videos/13078/milfs-like-it-big-my-parolee-09-26-2014/
https://goodporn.to/videos/13566/milfs-like-it-big-free-screw-at-hardware-store-05-29-2015/
https://goodporn.to/videos/13660/teens-like-it-big-my-dick-sucking-step-daughter-07-13-2015/
https://goodporn.to/videos/1714/fake-agent-horny-model-takes-big-dick-in-office-07-29-2015/
https://goodporn.to/videos/20822/realityjunkies-hungry-for-dick-scene-4-10-20-2016/
https://goodporn.to/videos/21036/sweetsinner-sex-with-the-joneses-part-1-scene-1-05-17-2017/
https://goodporn.to/videos/21701/realityjunkies-cheating-housewives-scene-3-09-06-2019/
https://goodporn.to/videos/2849/fake-taxi-drivers-cock-fills-passengers-pussy-04-01-2018/
https://goodporn.to/videos/33791/rk-prime-running-around-10-09-2017/
https://goodporn.to/videos/39797/rk-prime-too-tight-for-my-pussy-05-09-2021/
https://goodporn.to/videos/43643/brazzers-exxtra-deep-inside-mona-09-28-2021/
https://goodporn.to/videos/45313/rk-prime-getting-her-way-11-24-2021/
https://goodporn.to/videos/5625/i-know-that-girl-dirty-couple-s-sex-tape-07-14-2014/
https://goodporn.to/videos/6295/the-sex-scout-flexible-hottie-gets-a-facial-04-30-2016/
https://goodporn.to/videos/9872/baby-got-boobs-sample-my-cake-05-19-2010/
https://goodporn.to/tags/amanda-nicole/
https://goodporn.to/search/Gwen-adora/
https://goodporn.to/videos/22241/mike-s-apartment-good-touch-example-08-11-2003/
https://goodporn.to/videos/22243/8th-street-latinas-lock-n-cock-08-18-2003/
https://goodporn.to/videos/22244/milf-hunter-service-plan-08-18-2003/
https://goodporn.to/videos/22245/8th-street-latinas-maid-in-brazil-08-25-2003/
https://goodporn.to/videos/22290/we-live-together-cuming-party-11-10-2003/
https://goodporn.to/videos/22291/mike-s-apartment-piggie-movie-11-17-2003/
https://goodporn.to/videos/22292/8th-street-latinas-smoke-this-11-24-2003/
https://goodporn.to/videos/22293/we-live-together-spicy-thing-10-20-2003/
https://goodporn.to/videos/22294/in-the-vip-goose-is-loose-10-27-2003/
https://goodporn.to/videos/22341/cum-fiesta-bookworm-02-23-2004/
https://goodporn.to/videos/22342/we-live-together-blonde-trio-12-29-2003/
https://goodporn.to/videos/22343/big-naturals-titanic-titties-01-05-2004/
https://goodporn.to/videos/22344/captain-stabbin-analtaker-11-17-2003/
https://goodporn.to/videos/22346/8th-street-latinas-revenge-is-sweet-12-15-2003/
https://goodporn.to/videos/2240/fake-hospital-doctor-prescribes-sperm-treatment-01-29-2016/
https://goodporn.to/videos/22400/we-live-together-booby-trap-03-29-2004/
https://goodporn.to/videos/22402/milf-hunter-go-fish-04-05-2004/
https://goodporn.to/videos/22460/8th-street-latinas-sweet-revenge-04-26-2004/
https://goodporn.to/videos/22461/we-live-together-sex-to-go-04-26-2004/
https://goodporn.to/videos/22462/big-naturals-furniture-workout-06-14-2004/
https://goodporn.to/videos/22465/first-time-auditions-gut-buster-06-21-2004/
https://goodporn.to/videos/2251/female-fake-taxi-dirty-driver-swallows-copper-s-cock-02-12-2016/
https://goodporn.to/videos/22510/milf-hunter-lay-up-11-18-2002/
https://goodporn.to/videos/22512/8th-street-latinas-power-mex-11-18-2002/
                                                       2
    Case 2:21-cv-08533-MCS-SP Document 30-1 Filed 09/09/22 Page 129 of 137 Page ID
                                       #:608
https://goodporn.to/videos/22513/milf-hunter-sitting-duck-11-11-2002/
https://goodporn.to/videos/22515/milf-hunter-big-apple-pie-12-09-2002/
https://goodporn.to/videos/22560/street-blowjobs-southern-spice-04-07-2004/
https://goodporn.to/videos/22561/we-live-together-silky-pink-01-05-2004/
https://goodporn.to/videos/22562/mike-s-apartment-frisky-exchange-girl-11-03-2003/
https://goodporn.to/videos/22563/captain-stabbin-twat-smoothie-07-12-2004/
https://goodporn.to/videos/22564/8th-street-latinas-rin-tin-tan-04-12-2004/
https://goodporn.to/videos/22608/in-the-vip-on-the-rocks-07-19-2004/
https://goodporn.to/videos/2261/public-agent-emo-chick-has-sex-in-the-woods-01-29-2016/
https://goodporn.to/videos/22610/milf-hunter-rained-in-romp-04-14-2003/
https://goodporn.to/videos/22611/milf-hunter-art-broker-05-05-2003/
https://goodporn.to/videos/22653/captain-stabbin-slick-buckler-08-30-2004/
https://goodporn.to/videos/22654/mike-in-brazil-titan-tetangas-08-30-2004/
https://goodporn.to/videos/22657/we-live-together-tongues-of-fury-09-06-2004/
https://goodporn.to/videos/22658/8th-street-latinas-call-4-help-09-13-2004/
https://goodporn.to/videos/22659/mike-s-apartment-bada-bing-04-05-2004/
https://goodporn.to/videos/22702/first-time-auditions-get-on-it-08-16-2004/
https://goodporn.to/videos/22703/8th-street-latinas-tex-mex-pecks-06-21-2004/
https://goodporn.to/videos/22705/captain-stabbin-blowjob-major-03-01-2004/
https://goodporn.to/videos/22707/milf-hunter-spin-cycle-03-01-2004/
https://goodporn.to/videos/22709/8th-street-latinas-nails-n-facial-11-10-2003/
https://goodporn.to/videos/22744/mike-in-brazil-half-n-half-08-16-2004/
https://goodporn.to/videos/22745/first-time-auditions-giggles-and-cream-08-30-2004/
https://goodporn.to/videos/22746/round-and-brown-double-dip-09-06-2004/
https://goodporn.to/videos/22748/captain-stabbin-fucking-ay-12-09-2002/
https://goodporn.to/videos/22749/round-and-brown-queen-of-asses-06-28-2004/
https://goodporn.to/videos/22801/big-naturals-beas-boobs-11-01-2004/
https://goodporn.to/videos/22802/we-live-together-glitter-lips-11-01-2004/
https://goodporn.to/videos/22803/captain-stabbin-we-insist-11-08-2004/
https://goodporn.to/videos/22804/in-the-vip-big-ups-11-08-2004/
https://goodporn.to/videos/22806/mike-s-apartment-strip-please-06-07-2004/
https://goodporn.to/videos/22863/street-blowjobs-white-thunder-01-05-2005/
https://goodporn.to/videos/22864/mike-in-brazil-whole-wheat-buns-01-10-2005/
https://goodporn.to/videos/22865/we-live-together-got-it-good-01-10-2005/
https://goodporn.to/videos/22866/captain-stabbin-ass-fishing-01-17-2005/
https://goodporn.to/videos/22867/mike-s-apartment-russian-missles-01-17-2005/
https://goodporn.to/videos/22916/big-naturals-pounding-101-01-24-2005/
https://goodporn.to/videos/22917/first-time-auditions-pseudo-gymnast-01-24-2005/
https://goodporn.to/videos/22918/in-the-vip-white-russian-02-28-2005/
https://goodporn.to/videos/2292/fake-agent-uk-orgasms-anal-sex-and-squirting-08-24-2016/
https://goodporn.to/videos/22921/round-and-brown-fuck-me-proper-02-14-2005/
https://goodporn.to/videos/22982/first-time-auditions-broken-silence-03-21-2005/
https://goodporn.to/videos/22983/we-live-together-wet-n-sticky-03-28-2005/
https://goodporn.to/videos/22985/euro-sex-parties-festive-pair-04-04-2005/
Why are you requesting reinstatement?
Select one of the options below.
I am the owner of the content
Please provide more details to justify your request
Hello,
We own the following contents as well, These are not exclusive contents, We have acquired the right and ownership to
these contents as well. We are copyright holder of these content as well and we have full right to display or distribute
them on our website.
                                                           3
    Case 2:21-cv-08533-MCS-SP Document 30-1 Filed 09/09/22 Page 130 of 137 Page ID
                                       #:609

I consent to the jurisdiction of Federal District Court for the judicial district in which I reside (or the Northern District of
California if my address is outside of the United States), and I will accept service of process from the person who
provided notification under subsection (c)(1)(C) or an agent of such person.
Check to confirm
I swear, under penalty of perjury, that I have a good faith belief that the content identified above was removed or
disabled as a result of a mistake or misidentification of the material to be removed or disabled.
Check to confirm
Signature
Emilie Brunn
Signature date
Fri, 07 Jan 2022
Subject lr counternotice
Your Request to Google
Hidden product
websearch
Geolocation
NL

====================================

Regards,

The Google Team




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Case 2:21-cv-08533-MCS-SP Document 30-1 Filed 09/09/22 Page 131 of 137 Page ID
                                   #:610
    Case 2:21-cv-08533-MCS-SP Document 30-1 Filed 09/09/22 Page 132 of 137 Page ID
                                       #:611




On Mon, Nov 29, 2021 at 8:24 AM <removals@google.com> wrote:

Hello,

We have received a counter notification in response to the DMCA notice you sent us. As described in 17 U.S.C. 512(g),
by this email, we are providing you with a text copy of the counter notification and await your notice (in not more
than 10 business days) that you have filed an action seeking a court order to restrain the counter notifier's allegedly
                                                          1
   Case 2:21-cv-08533-MCS-SP Document 30-1 Filed 09/09/22 Page 133 of 137 Page ID
                                      #:612
infringing activity. In order to process your complaint, please send us a copy of the action filed or applicable court
order.

If we do not receive such notice from you, we will reinstate the material in question.

We encourage you to review https://library.educause.edu/topics/policy-and-law/digital-millennium-copyright-act-
dmca for more information about the DMCA and the requirements of a counter notice. If you have legal questions
about this, you should consult your own legal counsel.

====================================

Country of residence
Switzerland
Full legal name
Lizette Lundberg
Contact email address
Liz.lundberg@protonmail.ch
Address
Dufourstrasse 49
Zurich, ZH 8008, Switzerland
Phone number
+41 44 551 05 33
URL(s) of the content in question
https://goodporn.to/search/Gwen-adora/
Why are you requesting reinstatement?
Select one of the options below.
I am the owner of the content
Please provide more details to justify your request
We own these contents and we purchased license from producer to display and use the contents on our website. This
is a false DMCA notice as we legally own the contents and we have license to use them on our website.
I consent to the jurisdiction of Federal District Court for the judicial district in which I reside (or the Northern District
of California if my address is outside of the United States), and I will accept service of process from the person who
provided notification under subsection (c)(1)(C) or an agent of such person.
Check to confirm
I swear, under penalty of perjury, that I have a good faith belief that the content identified above was removed or
disabled as a result of a mistake or misidentification of the material to be removed or disabled.
Check to confirm
Signature
Lizette Lundberg
Signature date
Wed, 24 Nov 2021
Subject lr counternotice
Your Request to Google
Hidden product
websearch
Geolocation
FR

====================================

Regards,

                                                             2
     Case 2:21-cv-08533-MCS-SP Document 30-1 Filed 09/09/22 Page 134 of 137 Page ID
                                        #:613




---------- Forwarded message ---------
From: <removals@google.com>
Date: Fri, Oct 29, 2021 at 8:35 AM
Subject: Your Request to Google [9-4038000032144]
To: <mgpremiumcyprus@gmail.com>


Hello,

We have received a counter notification in response to the DMCA notice you sent us. As described in 17 U.S.C. 512(g),
by this email, we are providing you with a text copy of the counter notification and await your notice (in not more than
10 business days) that you have filed an action seeking a court order to restrain the counter notifier's allegedly
infringing activity. In order to process your complaint, please send us a copy of the action filed or applicable court order.

If we do not receive such notice from you, we will reinstate the material in question.

We encourage you to review https://library.educause.edu/topics/policy-and-law/digital-millennium-copyright-act-dmca
for more information about the DMCA and the requirements of a counter notice. If you have legal questions about this,
you should consult your own legal counsel.

====================================

Country of residence
Switzerland
Full legal name
Lizette Lundberg
Contact email address
Liz.lundberg@protonmail.ch
Address
Dufourstrasse 49
Zurich, ZH 8008, Switzerland
Phone number
+41 44 551 05 33
URL(s) of the content in question
https://goodporn.to/videos/11526/mommy-got-boobs-i-m-gonna-fuck-your-mom-09-14-2012/
https://goodporn.to/videos/11575/big-tits-at-school-college-mamories-10-09-2012/
https://goodporn.to/videos/11576/hot-and-mean-bound-to-lez-out-10-09-2012/
https://goodporn.to/videos/11577/big-tits-at-school-teaching-mr-sins-10-16-2012/
https://goodporn.to/videos/11579/big-tits-in-uniform-a-real-man-10-10-2012/
https://goodporn.to/videos/11580/milfs-like-it-big-the-man-eater-10-03-2012/
https://goodporn.to/videos/11622/big-tits-in-uniform-trick-or-treat-or-bukkake-10-31-2012/
                                                              1
     Case 2:21-cv-08533-MCS-SP Document 30-1 Filed 09/09/22 Page 135 of 137 Page ID
                                        #:614
https://goodporn.to/videos/11623/baby-got-boobs-dewey-cocks-part-2-backstage-booty-10-31-2012/
https://goodporn.to/videos/11624/teens-like-it-big-all-dolled-up-and-ready-to-blow-10-30-2012/
https://goodporn.to/videos/11625/doctor-adventures-fantasy-hospital-11-01-2012/
https://goodporn.to/videos/11670/big-tits-at-work-woopee-in-the-workspace-11-22-2012/
https://goodporn.to/videos/11671/mommy-got-boobs-fucking-the-help-11-16-2012/
https://goodporn.to/videos/11674/big-tits-at-school-the-nude-model-11-20-2012/
https://goodporn.to/videos/11675/shes-gonna-squirt-wet-spots-11-22-2012/
https://goodporn.to/videos/11715/big-wet-butts-sweet-ass-swede-12-07-2012/
https://goodporn.to/videos/11717/dirty-masseur-retail-therapy-12-07-2012/
https://goodporn.to/videos/1172/fake-hospital-curvy-blonde-with-a-bubbly-butt-accepts-dirty-doctor-s-offer-05-12-
2014/
https://goodporn.to/videos/11720/hot-and-mean-perks-of-the-penthouse-suite-12-11-2012/
https://goodporn.to/videos/11721/real-wife-stories-happy-anniversary-slut-12-10-2012/
https://goodporn.to/videos/11761/hot-and-mean-we-don-t-need-boys-01-02-2013/
https://goodporn.to/videos/11764/mommy-got-boobs-soaking-up-some-cunture-01-04-2013/
https://goodporn.to/videos/11765/big-wet-butts-stage-tight-01-04-2013/
https://goodporn.to/videos/11766/shes-gonna-squirt-burlesque-excess-01-03-2013/
https://goodporn.to/videos/11767/big-tits-at-school-rate-my-rack-01-08-2013/
https://goodporn.to/videos/1181/fake-taxi-cabbie-introduces-his-massive-cock-to-pretty-girl-s-tight-pussy-05-08-2014/
https://goodporn.to/videos/11812/dirty-masseur-riley-s-raunchy-rubdown-01-25-2013/
https://goodporn.to/videos/11813/pornstars-like-it-big-i-reamed-a-genie-01-28-2013/
https://goodporn.to/videos/11814/mommy-got-boobs-mama-s-fucking-my-man-01-25-2013/
https://goodporn.to/videos/11859/shes-gonna-squirt-squirts-and-stockings-02-21-2013/
https://goodporn.to/videos/11861/mommy-got-boobs-college-madness-02-22-2013/
https://goodporn.to/videos/11862/hot-and-mean-fuck-brag-02-13-2013/
https://goodporn.to/videos/11863/hot-and-mean-strip-search-sluts-02-26-2013/
https://goodporn.to/videos/11911/big-tits-in-uniform-titty-tipping-03-16-2013/
https://goodporn.to/videos/11913/pornstars-like-it-big-fuck-of-the-irish-03-18-2013/
https://goodporn.to/videos/11914/hot-and-mean-lights-camera-sluts-03-19-2013/
https://goodporn.to/videos/11915/big-tits-at-school-professor-of-persuasion-03-19-2013/
https://goodporn.to/videos/11916/teens-like-it-big-a-ride-for-my-ride-03-19-2013/
https://goodporn.to/videos/11957/real-wife-stories-unpack-my-pussy-04-08-2013/
https://goodporn.to/videos/11958/big-tits-at-school-freaks-and-geeks-and-teets-04-09-2013/
https://goodporn.to/videos/11959/teens-like-it-big-wanna-bang-o-man-04-09-2013/
https://goodporn.to/videos/1196/fake-hospital-doctor-and-nurse-enjoy-patient-s-wet-pussy-04-28-2014/
https://goodporn.to/videos/11961/hot-and-mean-maid-to-obey-04-09-2013/
https://goodporn.to/videos/12005/big-tits-at-work-big-package-for-a-little-pussy-05-02-2013/
https://goodporn.to/videos/12006/teens-like-it-big-the-rites-of-big-cock-passage-04-30-2013/
https://goodporn.to/videos/12007/dirty-masseur-rub-down-diamond-05-03-2013/
https://goodporn.to/videos/12008/shes-gonna-squirt-deja-screw-05-02-2013/
https://goodporn.to/videos/12009/big-wet-butts-proper-english-ass-05-03-2013/
https://goodporn.to/videos/12055/hot-and-mean-salon-sluts-05-21-2013/
https://goodporn.to/videos/12057/big-tits-in-uniform-give-the-maid-the-tip-05-25-2013/
https://goodporn.to/videos/12058/mommy-got-boobs-a-poke-for-a-vote-05-24-2013/
https://goodporn.to/videos/12059/big-tits-at-work-boss-likes-the-bad-boys-05-23-2013/
https://goodporn.to/videos/12109/baby-got-boobs-mannequin-magic-06-19-2013/
https://goodporn.to/videos/1211/fake-agent-uk-blonde-beauty-with-big-tits-enjoys-sex-and-money-above-all-04-11-
2014/
https://goodporn.to/videos/12110/milfs-like-it-big-milf-diaries-06-19-2013/
https://goodporn.to/videos/12111/hot-and-mean-muffin-stuffin-06-18-2013/
https://goodporn.to/videos/12112/shes-gonna-squirt-striptease-squirtfest-06-20-2013/
https://goodporn.to/videos/12158/dirty-masseur-rookie-nookie-06-28-2013/
                                                          2
      Case 2:21-cv-08533-MCS-SP Document 30-1 Filed 09/09/22 Page 136 of 137 Page ID
                                         #:615
https://goodporn.to/videos/12159/shes-gonna-squirt-and-now-i-ll-make-her-panties-disappear-07-18-2013/
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I consent to the jurisdiction of Federal District Court for the judicial district in which I reside (or the Northern District of
California if my address is outside of the United States), and I will accept service of process from the person who
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I swear, under penalty of perjury, that I have a good faith belief that the content identified above was removed or
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The Google Team




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